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EXHIBIT A

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Data Analysis Unit Department of Corrections and Rehabilitation
Estimates and Statistical Analysis Section State of California
Offender Information Services Branch September 11, 2006

WEEKLY REPORT OF POPULATION
AS OF MIDNIGHT September 6, 2006

TOTAL CDCR POPULATION
CHANGE SINCE

FELON/ CIVIL 09/07/05 DESIGN PERCENT STAFFED
OTHER ADDICT TOTAL NO. PCT. CAPACITY OCCUPIED CAPACITY
A. TOTAL INSTITUTIONS 170,967 1,246 172,213 46,453 +3.8
(MEN, Subtotal) 159,524 889 160,413 +5,868 +3.7
(WOMEN, Subtotal) 11,443 357 11,800 +585 +5.2
1. INSTITUTIONS/CAMPS 164,674 1,246 165,920 +5,467 +344 88,396 187.7 166,509
INSTITUTIONS 160,195 1,246 161,441 45,453 +3.4 84,488 191.1 162,471
CAMPS(CCC & SCC) 4,479 4,479 +14 +0.3 3,908 114.6 4,038
2. COMMUNITY CORR. CTRS. 6,109 0 6,109 +956 © 418.5 7,543 81.0
CCF PRIVATE 2,848 2,848 +586 +25.9 2,752 103.5
CCF PUBLIC 2,494 2,494 +73 +3.0 2,461 101.3
DRUG TREATMT FURLOUGH 497 497 +287 +136.6 1,056 47.1
PRIVATE WORK FURLOUGH 101 101 +3 +3.0 1,103 9.2
PRISONER MOTHER PGM 68 68 -1 -1.4 70 97.1
FAMILY FOUNDATION PGM 70 70 +9 +14.7 70 100.0
WORK FUR. IN CUSTODY 31 31 -1 -3.1 31 100.0
3. DMH STATE HOSPITALS 184 184 +30 +19.4
B. PAROLE 116,618 1,707 118,325 +3,761 43.2
COMMUNITY SUPERVISION 115,087 1,707 116,794 +3,831 +3.3
COOPERATIVE CASES 1,531 1,531 -70 -4.3
C. NON-CDC JURISDICTION 1,893 0 1,893 ~-149 -7.2
OTHER STATE/FED. INST. 527 527 -26 -4.7
OUT OF STATE PAROLE 1,194 1,194 -70 -5.5
OUT OF STATE PAL 95 95 -35 ~26.9
CYA-WEIC 1731.5 (c)
INSTITUTIONS 17 77 -18 ~18.9
D. OTHER POPULATIONS 21,038 282 21,320 -835 -3.7
INMATES
OUT-TO-COURT, etc. 2,051 50 2,101 +280 415.3
ESCAPED 237 237 -19 -7.4
PAROLEES (PAL/RAL) 18,750 232 18,982 -1,096 -5.4
TOTAL CDCR POPULATION 310,516 3,235 313,751 +9,230 +3.0

CHANGE FROM LAST WEEK

A. TOTAL INSTITUTIONS -154 +15 -139
(MEN, Subtotal) -204 +7 ~197
(WOMEN, Subtotal) +50 +8 +58
B. PAROLE +220 -7 +213
D. PAROLEES (PAL/RAL) +282 +4 +286

This report contains the latest available reliable population figures from OBIS. They have been
carefully audited, but are preliminary, and therefore subject to revision.

Figure excludes institution based camps. Total persons in camps, including base camps, are
4,565 . Base camp at CMC is included in institution counts.
Report # TPOP-1W. Questions: (916) 327-3262 (CALNET) 467-3262.

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT September 6, 2006
FELON/ CIVIL DESIGN PERCENT STAFFED
INSTITUTIONS / CAMPS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
MALE
ASP (AVENAL SP) 7,511 7,811 3,114 241.2 7,028
ccc (CAL CORRECTL CTR) 6,149 6,149 3,682 167.0 5,750
CCI (CAL CORRECTL INSTITN) 5,765 2 5,767 3,020 191.0 5,558
CIM (CAL INSTITN FOR MEN) 6,533 21 6,554 3,078 212.9 6,615
CMF (CAL MEDICAL FACIL) 3,010 3,010 2,315 130.0 3,351
cmc (CAL MEN'S COLONY) 6,533 6,533 3,884 168.2 6,604
CRC (CAL REHAB CTR, MEN) 3,153 807 3,960 1,814 218.3 3,952
CAL (CAL SP, CALIPATRIA) 4,183 4,183 2,508 166.8 4,268
CEN (CAL SP, CENTINELA) 4,949 1 4,950 2,316 213.7 5,103
COR (CAL SP, CORCORAN) 5,334 1 5,335 3,016 176.9 5,134
LAC (CAL SP, LOS ANGELES CO) 4,540 4,540 2,600 174.6 5,084
SAC (CAL SP, SACRAMENTO) 3,177 3,177 1,898 167.4 3,244
SQ (CAL SP, SAN QUENTIN) 5,058 7 5,065 3,661 138.4 5,681
SOL (CAL SP, SOLANO) 6,119 6,119 2,658 230.2 5,660
SATF (CAL SATF AND SP - COR) 7,419 2 7,421 3,591 206.7 7,027
CVSP (CHUCKAWALLA VALLEY SP) 3,875 3,875 1,738 223.0 3,860
CTF (CORRL TRAING FAC) 7,087 7,087 3,319 213.5 7,001
DVI (DEUEL VOCATL INSTITN) 3,887 8 3,895 1,787 218.0 3,551
FOL (FOLSOM SP) 4,045 4,045 2,475 163.4 4,249
HDP (HIGH DESERT SP) 4,744 3 4,747 2,534 187.3 4,752
IRON (IRONWOOD SP) 4,639 4,639 2,200 210.9 4,653
KVSP (KERN VALLEY SP) 4,706 6 4,712 2,718 173.4 4,636
MCSP (MULE CREEK SP) 3,937 3,937 1,700 231.6 3,837
NKSP (NORTH .KERN SP) 5,349 3 5,352 2,918 183.4 5,387
PDC (PITCHESS DETENT CTR-RC) 1,478 1,478 0 - 1,292
PBSP (PELICAN BAY SP) 3,460 1 3,461 2,376 145.7 3,582
PVSP (PLEASANT VALLEY SP) 5,055 * 8,055 2,298 220.0 5,028
RIO (RIO COSUMNES COR CTR-RC) 327 327 0 - 250
RJD (RJ DONOVAN CORR FACIL) . 4,722 4,722 2,308 204.6 4,443
SVSP (SALINAS VAL SP) 4,593 4,593 2,914 157.6 4,510
SRTA (SANTA RITA CO. JAIL-RC) 604 604 0 - 750
SBRN (SAN BRUNO CO. JAIL) 152 152 60 253.3 200
scc (SIERRA CONSERV CTR) 6,095 1 6,096 3,606 169.1 6,107
WSP (WASCO SP) 5,700 26 5,726 3,314 172.8 6,066
MALE TOTAL: 153,888 889 154,777 81,420 190.1 154,213
FEMALE
CIW (CAL INST FOR WOMEN) 2,688 12 2,700 2,372 113.8 4,220
CRC (CAL REHAB CTR, WOMEN) 400 321 721 500 144.2 680
CCWF (CENT CAL WOMEN'S FACIL) 3,913 5 3,918 2,029 193.1 3,490 °
RIO (RIO COSUMNES COR CTR-RC) 27 27 0 - 20
SBRN (SAN BRUNO CO. JAIL) 12 12 60 20.0 200
VSP (VALLEY SP) 3,746 19 3,765 2,015 186.8 3,686
FEMALE TOTAL: 10,786 357 11,143 6,976 159.7 12,296
INSTITUTIONS/CAMPS TOTAL: 164,674 1,246 165,920 88,396 187.7 166,509

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT: September 6, 2006
/ FELON/ CIVIL DESIGN PERCENT STAFFED
MALE INSTITUTIONS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
ASP (AVENAL SP) 7,511 7,511 3,114 241.2 7,028
ccc (CAL CORRECTL CTR)
Camps 2,035 2,035 1,708 |. 119.1 1,708
Level I 1,552 1,552 866 179.2 1,456
Level II 1,510 _ 1,510 608 248.4 1,393
Level III 1,052 1,052 500 210.4 1,193
CCI (CAL CORRECTL INSTITN)
Level I 1,518 1,518 617 246.0 1,237
Level II 1,327 1,327 664 199.8 1,695
Level IV 1,126 2 1,128 500 225.6 1,075
IV A-Main . 947 947 555 170.6 703
IV B-Main 163 163 228 71.5 581
IV B-SHU 684 684 456 150.0 267
CIM (CAL INSTITN FOR MEN)
Level I 2,840 2,840 1,420 200.0 2,760
East - Reception Center 1,087 4 1,091 400 272.7 990
Reception Center - Central 1,182 15 1,197 618 193.7 1,455
Reception Center - West 1,424 2 1,426 640 222.8 1,410
CMF (CAL MEDICAL FACIL)
Level I 158 158 117 135.0 177
Level II : 369 369 250 147.6 410
Level III 2,483 2,483 1,948 127.5 2,764
CMC (CAL MEN'S COLONY)
East 3,716 3,716 2,425 153.2 3,750
West 2,817 2,817 1,459 193.1 2,854 ‘
CRC (CAL REHAB CTR, MEN) 3,153 807 3,960 1,814 218.3 3,952
CAL (CAL SP, CALIPATRIA)
Level I 365 365 208 175.5 358
Level IV 3,818 3,818 2,300 166.0 3,910
CEN (CAL SP, CENTINELA)
Level I 393 393 208 188.9 408
Level III 4,447 1 4,448 “1,608 276.6 3,815
Level IV 109 109 500 21.8 880
COR (CAL SP, CORCORAN)
Level I 867 867 492 176.2 826
Level III 310 310 200 155.0 342
-Level IV 2,873 2,873 1,300 221.0 2,720
SHU 1,271 1 1,272 1,000 127.2 1,200
PHU 13 13 24 54.2 46
LAC (CAL SP, LOS ANGELES CO)
Level I 311 311 200 155.5 400
Level III/IV 3,080 3,080 2,000 154.0 4,284
Reception Center 1,149 1,149 400 287.2 400
SAC (CAL SP, SACRAMENTO)
Level I 332 332 362 91.7 384
Level IV 2,845 2,845 1,536 185.2 2,860
SQ (CAL SP, SAN QUENTIN)
Level I 29 29 234 12.4 215 .
Level II 1,752 1,752 1,073 163.3 1,929
Condemned 603 603 587 102.7 635
Reception Center 2,674 7 2,681 1,767 151.7 2,902
SOL (CAL SP, SOLANO)
Level II 3,402 3,402 1,458 233.3 3,080
Level III 2,717 2,717 1,200 226.4 2,580
SATF (CAL SATF AND SP - COR) 7,419 2 7,421 3,591 206.7 7,027
CVSP (CHUCKAWALLA VALLEY SP)
Level I 358 358 208 172.1 408
Level II 3,517 3,517 1,530 229.9 3,452
CTF (CORRL TRAING FAC)
Central~-II 3,132 3,132 1,409 222.3 3,051
North-II/II1 2,874 2,874 1,400 205.3 2,860
South-I 1,081 1,081 510 212.0 1,090
DVI (DEUEL VOCATL INSTITN)
Level I 6 6 176. 3.4 231
Level III “675 675 532 126.9 942
Reception Center 3,206 8 3,214 1,079 297.9 2,378
FOL (FOLSOM SP)
PSAP 157 157 200 78.5 200
TTP 160 160 203 78.8 203
Level I 331 331 296 111.8 471
Level II 1,581 1,581 1,067 148.2 2,027
Level III 1,816 1,816 709 256.1 1,348

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT September 6, 2006
FELON/ CIVIL DESIGN PERCENT STAFFED

MALE INSTITUTIONS OTHER ADDIcT TOTAL CAPACITY OCCUPIED CAPACITY
HDP (HIGH DESERT SP)

Level I 394 394 200 197.0 400 :

Level II 131 131 120 109.2 120

Level III 828 828 400 207.0 1,002

Level IV 2,752 2,752 1,714 160.6 2,850

Reception Center 639 3 642 100 642.0 380
IRON (IRONWOOD SP)

Level I 371 371 200 185.5 400

Level III 4,268 4,268 2,000 213.4 4,253
KVSP (KERN VALLEY SP)

Level IV 3,842 1 3,843 1,984 193.7 3,770

Level I 433 433 200 216.5 200

Adseg 426 5 431 264 163.3 396

etc 5 5° 270 1.9 270
MCSP (MULE CREEK SP)

Level I 381 381 200 190.5 392

Level IIT 2,587 2,587 1,000 258.7 2,335

Level IV 969 , 969 500 193.8 1,110
NKSP (NORTH KERN SP)

Level I 345 345 208 165.9 358

Level III 424 424 500 84.8 868

Reception Center 4,580 3 4,583 2,210 207.4 4,161
PDC (PITCHESS DETENT CTR-RC) 1,478 1,478 0 - 1,292
PBSP (PELICAN BAY SP)

Level I 288 288 296 97.3 384

Level III/IV 2,063 1 2,064 1,024 201.6 1,931

SHU 1,109 1,109 1,056 105.0 1,267

’ PVSP (PLEASANT VALLEY SP)

Level I 365 365 208 175.5 408

Level IIT 4,690 4,690 2,090 224.4 4,620
RIO (RIO COSUMNES COR CTR-RC) 327 327 0 - 250
RJD - (RJ DONOVAN CORR FACIL)

Level I 356 356 200 178.0 392

Level III 2,346 2,346 1,500 156.4 2,899

Reception Center 2,020 2,020 608 332.2 1,152
SVSP (SALINAS VAL SP)

Level I 395 395 280 141.1 400

Level IV 4,198 4,198 2,634 159.4 4,110
SRTA (SANTA RITA CO. JAIL-RC) 604 604 0 - 750
SBRN (SAN BRUNO CO. JAIL) 152 152 60 253.3 200
scc (SIERRA CONSERV CTR)

Camps-Men . 2,128 2,128 1,880 113.2 2,010

Level I 1,334 1,334 618 215.9 1,378

Level II 1,546 1 1,547 608 254.4 1,634

Level III 1,087 1,087 500 217.4 1,085

_WSP (WASCO SP)

Level I 272 272 200 136.0 392

Level III 456 456 500 91.2 773

Reception Center 4,972 26 4,998 2,614 191.2 4,901
MALE TOTAL: 153, 888 889 154,777 81,420 190.1 154,213

FEMALE INSTITUTIONS
CIW (CAL INST FOR WOMEN)

Institution 2,063 12 2,075 916 226.5 1,505
Reception Center 286 286 110 260.0 445
Corr Trt Ctr 20 20 916 2.2 1,505
Corr Trt Ctr RC 3 3 110 2.7 445
Camps -Women 316 316 320 98.8 320
CRC (CAL REHAB CTR, WOMEN) 400 321 721 500 144.2 680
CCWF (CENT CAL WOMEN'S FACIL)
Institution 3,159 3 3,162 1,623 194.8 2,588
Reception Center 740 2 742 393 188.8 887
Condemned 14 14 13 107.7 15
RIO (RIO COSUMNES COR CTR-RC) 27 27 0 - - 20
SBRN (SAN BRUNO CO. JAIL) 12 12 60 20.0 200
VSP (VALLEY SP)
Institution 3,023 3,023 1,571 192.4 2,946
Reception Center 664 19 683 400 170.8 678
SHU 59 59 44 134.1 62
FEMALE TOTAL: 10,786 357 11,143 6,976 159.7 12,296
INSTITUTIONS/CAMPS TOTAL: 164,674 1,246 165,920 88,396 187.7 166,509

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Data Analysis Unit

Estimates and Statistical Analysis Section

Offender Information Services Branch
WEEKLY REPORT OF POPULATION
AS OF MIDNIGHT April 26, 2006

ed 09/25/06

Department of Corrections and Rehabilitation

State of California
May 1, 2006

TOTAL CDC POPULATION

CHANGE SINCE

FELON/ CIVIL 04/27/05 DESIGN PERCENT STAFFED
OTHER ADDICT TOTAL NO. PCT. CAPACITY OCCUPIED CAPACITY
A, TOTAL INSTITUTIONS 169,425 1,275 170,700 +8,676 +5.3
(MEN, Subtotal) 158,163 930 159,093 +7,797 +#5.1
(WOMEN, Subtotal) 11,262 345 11,607 +879 +8.1
1. INSTITUTIONS/CAMPS 163,627 1,275 164,902 +8,624 +5.5 86,980 189.6 163,889
INSTITUTIONS 159,257 1,275 160,532 +8,431 +5.5 83,072 193.2 159,851
CAMPS (CCC & SCC) 4,370 4,370 +193 +4.6 3,908 111.8 4,038
2. COMMUNITY CORR. CTRS. 5,652 0 5,652 +64 +1.1 7,546 74.9
CCF PRIVATE 2,730 2,730 +10 +0.3 2,752 99.2
CCF PUBLIC 2,374 2,374 ~24 -1.0 2,461 96.5
DRUG TREATMT FURLOUGH 276 276 +79 +40.1 1,056 26.1
PRIVATE WORK FURLOUGH 103 103 0 - 1,103 9.3
PRISONER MOTHER PGM 70 70 +2 42.9 70 100.0
FAMILY FOUNDATION PGM 65 65 +3 +4.8 70 92.9
WORK FUR. IN CUSTODY 34 34 -6 -15.0 34 100.0
3. DMH STATE HOSPITALS 146 146 -12 -7.5
B. PAROLE 114,083 1,781 115,864 ~223 -O.1
COMMUNITY SUPERVISION 112,493 1,781 114,274 -232 -0.2
COOPERATIVE CASES 1,590 1,590 +9 +0.5
C. NON-CDC JURISDICTION 1,958 0 1,958 -98 -4.7
OTHER STATE/FED. INST. 533 533 ~29 -S.1
OUT OF STATE PAROLE 1,222 1,222 ~43 -3.3
OUT OF STATE PAL * 109 109 -26 -19.2
CYA-W&IC 1731.5(c)
INSTITUTIONS 94 94 0 -
D. OTHER POPULATIONS 21,349 304 21,653 -107 -~0.4
INMATES
OUT-TO-COURT, etc. 1,906 54 1,960 +152 +8.4
ESCAPED 245 245 ~8 -3.1
PAROLEES (PAL/RAL) 19,198 250 19,448 -251 -1.2
TOTAL CDC POPULATION 306,815 3,360 310,175 +8,248 +2.7
CHANGE FROM LAST WEEK
A. TOTAL INSTITUTIONS +271 +2 +273
(MEN, Subtotal) +297 +3 +300
(WOMEN, Subtotal) _-26 -1 -27
B. PAROLE -411 -18 -429
D. PAROLEES (PAL/RAL) +400 +17 +417

This report contains the latest available reliable population figures from OBIS.

carefully audited, but are preliminary, and therefore subject to revision.

Figure excludes institution based camps. Total persons in camps,
4,455 Base camp at CMC is included in institution counts.
Report # TPOP-1W. Questions: (916) 327-3262 (CALNET) 467-3262.

They have been

including base camps, are

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT April 26, 2006
FELON/ CIVIL DESIGN PERCENT STAFFED
INSTITUTIONS/ CAMPS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
MALE
ASP (AVENAL SP) 7,392 7,392 3,114 237.4 7,028
ccc (CAL CORRECTL CTR) 6,123 6,123 3,682 166.3 5,750
CCI (CAL CORRECTL INSTITN) 5,449 5,449 3,020 180.4 5,558
CIM (CAL INSTITN FOR MEN) 6,354 24 6,378 3,078 207.2 6,615
CMF (CAL MEDICAL FACIL) 3,051 3,051 2,315 131.8 3,351
cmc. (CAL MEN'S COLONY) 6,581 6,581 3,884 169.4 6,604
CRC (CAL REHAB CTR, MEN) 3,105 851 3,956 1,814 218.1 3,952
CAL (CAL SP, CALIPATRIA) 4,294 4,294 2,508 171.2 4,268
CEN (CAL SP, CENTINELA) 4,926 4,926 2,316 212.7 5,103
COR (CAL SP, CORCORAN) 5,250 2 5,252 3,016 174.1 5,134
LAC (CAL SP, LOS ANGELES CO) 3,386 3,386 2,200 153.9 4,684
LARC (CAL SP RC, LOS ANGELES) 1,119 1,119 400 279.7 400
SAC (CAL SP, SACRAMENTO) 3,264 3,264 1,898 172.0 3,244
SQ (CAL SP, SAN QUENTIN) 5,043 7 5,050 3,661 137.9 5,681
sOL (CAL SP, SOLANO) 5,866 5,866 2,658 220.7 5,660
SATF (CAL SATF AND SP - COR) 7,375 7,375 3,591 205.4 7,027
CVSP (CHUCKAWALLA VALLEY SP) 4,234 4,234 1,738 243.6 3,860
CTF (CORRL TRAING FAC) 7,159 4 7,163 3,319 215.8 7,001
DVI (DEVEL VOCATL INSTITN) 3,869 5 3,874 1,787 216.8 3,551
FOL (FOLSOM SP) 4,158 4,158 2,475 168.0 4,249
HDP (HIGH DESERT SP) 4,649 17 4,666 2,534 184.1 4,752
IRON (IRONWOOD SP) 4,687 4,687 2,200 213.0 4,653
KVSP (KERN VALLEY SP) 4,345 4,345 2,448 177.5 4,366
MCSP (MULE CREEK SP) 3,869 3,869 1,700 227.6 3,837
NKSP (NORTH KERN SP) 5,274 7 5,281 2,918 181.0 5,387
PDC (PITCHESS DETENT CTR-RC) 1,005 - 1,005 0 - 1,292
PBSP (PELICAN BAY SP) 3,423 3,423 - 2,376 144.1 3,582
PVSP (PLEASANT VALLEY SP) 5,056 5,056 2,298 220.0 5,028
RIO (RIO COSUMNES COR CTR-RC) 239 239 0 - 250
RJD (RJ DONOVAN CORR FACIL) 4,741 4,741 2,308 205.4 4,443
SVSP (SALINAS VAL SP) 4,611 4,611 2,914 158.2 4,510
SRTA (SANTA RITA CO. JAIL-RC) : 684 1 685 0 - 750
SCC (SIERRA CONSERV CTR) 6,236 6,236 3,606 172.9 6,107
WSP (WASCO SP) 6,037 12 6,049 3,314 182.5 6,066
MALE TOTAL: 152,854 930 153,784 81,090 189.6 153,743
FEMALE
CIW (CAL INST FOR WOMEN) 2,630 12 2,642 1,346 196.3 2,270
CRC (CAL REHAB CTR, WOMEN) 462 316 778 500 155.6 680
CCWF (CENT CAL WOMEN'S FACIL) 3,805 2 3,807 2,029 187.6 3,490
RIO (RIO COSUMNES COR CTR-RC) 10 10 0 - 20
VSP (VALLEY SP) 3,866 15 3,881 2,015 192.6 3,686
FEMALE TOTAL: 10,773 345 11,118 5,890 188.8 10,146
INSTITUTIONS/CAMPS TOTAL: 163,627 1,275 164,902 86,980 189.6 163,889
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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL , MIDNIGHT April 26, 2006
FELON/ CIVIL DESIGN PERCENT STAFFED
MALE INSTITUTIONS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY!
ASP (AVENAL SP) 7,392 7,392 3,114 237.4 7,028
ccc (CAL CORRECTL CTR)
Camps 1,919 1,919 1,708 112.4 1,708
Level I 1,598 1,598 866 184.5 1,456
Level II 1,504 1,504 608 247.4 1,393
Level III 1,102 1,102 500 220.4 1,193
CCI (CAL CORRECTL INSTITN)
Level I 1,221 1,221 617 19.7.9 1,237
Level II 1,540 1,540 664 231.9 1,695
Level IV 942 942 500 188.4 1,075
IV A-Main 934 934 555 168.3 703
IV B-Main 154 154 228 67.5 581
IV B-SHU 658 658 456 144.3 267
CIM (CAL INSTITN FOR MEN)
Level I 2,664 1 2,665 1,420 187.7 2,760
East ~- Reception Center 1,076 5 1,081 400 270.2 390
Reception Center - Central 1,286 18 1,304 618 211.0 1,455
Reception Center ~ West 1,328 1,328 640 207.5 1,410
CMF (CAL MEDICAL FACIL)
Level I 127 127 117 108.5 177
Level II 369 369 250 147.6 410
Level III 2,555 2,555 1,948 131.2 2,764
cMc (CAL MEN'S COLONY)
East 3,757 3,757 2,425 154.9 3,750
West 2,824 2,824 1,459 193.6 2,854
CRC (CAL REHAB CTR, MEN) 3,105 851 3,956 1,814 218.1 3,952
CAL (CAL SP, CALIPATRIA)
Level I 395 395 208 189.9 358
Level IV 3,899 3,899 2,300 169.5 3,910
CEN (CAL SP, CENTINELA)
Level I 338 338 208 162.5 408
Level III 4,466 . 4,466 1,608 277.7 3,815
Level IV 122 122 500 24.4 880
COR (CAL SP, CORCORAN)
Level I 849 849 492 172.6 826
Level III 342 342 200 171.0 342
Level IV 2,824 2 2,826 1,300 217.4 2,720
SHU 1,220 1,220 1,000 122.0 1,200
PHU 15 15 24 62.5 46
LAC (CAL SP, LOS ANGELES CO)
Level I 344 344 200 172.0 400
Level III/IV 3,042 3,042 2,000 152.1 4,284
LARC (CAL SP RC, LOS ANGELES) 1,119 1,119 400 279.7 400
SAC (CAL SP, SACRAMENTO) :
Level I 362 362 362 100.0 384
Level IV 2,902 2,902 1,536 188.9 2,860
sQ (CAL SP, SAN QUENTIN)
Level I 66 66 234 28.2 215
Level IT 1,734 1,734 1,073 161.6 1,929
Condemned 606 606 587 103.2 635
Reception Center 2,637 7 2,644 1,767 149.6 2,902
SOL (CAL SP, SOLANO)
Level II 3,399 3,399 1,458 233.1 3,080
Level III : 2,467 2,467 1,200 205.6 2,580
SATF (CAL SATF AND SP - COR) 7,375 7,375 3,591 205.4 7,027
CVSP (CHUCKAWALLA VALLEY SP)
Level I 388 388 208 186.5 408
Level II 3,846 3,846 1,530 251.4 . 3,452
CTF (CORRL TRAING FAC)
Central-It 3,156 4 3,160 1,409 224.3 3,051
North-II/IirI 2,880 2,880 1,400 205.7 2,860
South -I 1,123 1,123 510 220.2 1,090
DVI (DEUEL VOCATL INSTITN) .
Level I il il 176 6.3 231
Level III 716 716 532 134.6 942
Reception Center 3,142 5 3,147 1,079 291.7 2,378
FOL (FOLSOM SP)
PSAP 133 133 200 66.5 200
TTP 177 177 203 87.2 203
Level I 356 356 296 120.3 471
Level II 1,680 1,680 1,067 157.5 2,027
Level III 1,812 1,812 709 255.6 1,348

#TPOP-1A

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WEEKLY INSTITUTION/CAMPS POPULATION DETAIL MIDNIGHT April 26, 2006
FELON/ CIVIL DESIGN PERCENT STAFFED

MALE INSTITUTIONS OTHER ADDICT TOTAL CAPACITY OCCUPIED CAPACITY
HDP (HIGH DESERT SP)

Level I 391 391 200 195.5 400

Level II 119 119 120 99.2 120

Level III 864 864 400 216.0 1,002

Level IV 2,712 2,712 1,714 158.2 2,850

Reception Center 563 17 580 100 580.0 380
IRON (IRONWOOD SP)

Level I 388 388 200 194.0. 400

Level III 4,299 4,299 2,000 215.0 4,253
KVSP (KERN VALLEY SP)

Level IV 3,650 3,650 1,984 184.0 3,770

Level I 407 407 200 203.5 ~ 200

Adseg 288 288 264 109.1 396
MCSP (MULE CREEK SP)

Level I 382 382 200 191.0 392

Level III 2,503 2,503 1,000 250.3 2,335

Level IV 984 984 500 196.8 1,110
NKSP (NORTH KERN SP)

Level I 344 344 208 165.4 358

Level III 425 425 500 85.0 868

Reception Center 4,505 7 4,512 2,210 204.2 4,161
PDC (PITCHESS DETENT CTR~-RC) 1,005 1,005 0 - 1,292
PBSP (PELICAN BAY SP)

Level I 326 326 296 110.1 384

Level III/IV 1,992 1,992 1,024 194.5 1,931

SHU 1,105 1,105 1,056 104.6 1,267
PVSP (PLEASANT VALLEY SP)

Level I 332 332 208 159.6 408

Level III 4,724 4,724 2,090 226.0 4,620
RIO (RIO COSUMNES COR CTR-RC) 239 239 0 - 250
RJD (RJ DONOVAN CORR FACIL)

Level I 350 350 200 175.0 : 392

Level III 2,205 2,205 1,500 147.0 2,899

Reception Center 2,186 2,186 608 359.5 1,152
SVSP (SALINAS VAL SP)

Level I 368 368 280 131.4 400

Level IV , : 4,243 4,243 2,634 161.1 4,110
SRTA (SANTA RITA CO. JAIL-RC) 684 1 685 0 - 750
scc (SIERRA CONSERV CTR)

Camps -Men 2,134 . 2,134 1,880 113.5 2,010

Level I 1,362 1,362 618 220.4 1,378

Level If 1,660 1,660 608 273.0 1,634

Level IIT 1,080 1,080 500 216.0 1,085
WSP (WASCO SP)

Level I 299 299 200 149.5 392

Level III 505 505 500 101.0 773

Reception Center 5,233 12 5,245 2,614 200.7 4,901
MALE TOTAL: 152,854 930 153,784 81,090 189.6 153,743
FEMALE INSTITUTIONS
CIW (CAL INST FOR WOMEN)

Institution 2,055 12 2,067 916 225.7 1,505

Reception Center 258 258 110 234.5 445

Camps -Women 317 317 320 99.1 320
CRC (CAL REHAB CTR, WOMEN) 462 316 778 500 155.6 680
CCWF (CENT CAL WOMEN'S FACIL)

Institution 3,128 a 3,129 1,623 192.8 2,588

Reception Center 663 1 664 393 169.0 887

Condemned 14 14 13 107.7 15
RIO (RIO COSUMNES COR CTR-RC) 10 10 0 - 20
VSP (VALLEY SP)

Institution 3,089 3,089 1,571 196.6 2,946

Reception Center 712 15 727 400 181.8 678

SHU 65 65 44 147.7 62
FEMALE TOTAL: 10,773 345 11,118 5,890 188.8 10,146
INSTITUTIONS/CAMPS TOTAL: 163,627 1,275 164,902 86,980 189.6 163,889

#TPOP-1A, PAGE 2
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EXHIBIT B

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State of CARIES 2:90-cv-00520-KJM-SCR Document 1975-1 Filed 09 AfiRent of Condeh Hens and Rehabilitation
Memorandum

Date : September 1, 2006

To. : All California Department of Corrections and
Rehabilitation Staff

Subject: SPECIAL SESSION ON PRISON OVERCROWDING

I wanted to take this opportunity to provide you with an update on the outcome of the Special
Session on Prison Overcrowding. As you know, last month our Department developed
comprehensive short-, mid-, and long-term solutions to add additional capacity to our
extremely overcrowded prisons. These solutions built upon much of the work that had been
done in the last year aimed at providing relief to the overcrowding within our adult institutions
statewide.

I am deeply disheartened that the special legislative session concluded last night without the
passage by the Assembly of any measures to provide either short-term relief or long-term
remedies to alleviate the prison overcrowding crisis. This came after the previous day in
which the Senate had agreed to, and passed, three separate bills that (1) would have provided
over $900 million dollars to begin immediate construction of over 5,300 beds at our existing
institutions along with planning and design money for another 29,000 beds and approval for a
southern training academy; (2) would have authorized the Department to contract for
4,500 beds for nonviolent, nonserious female offenders; and (3) would have authorized the
Department to contract with out-of-state facilities to hold inmates willing to voluntarily
transfer to another state (our original proposal had requested approval to involuntarily transfer
inmates). Unfortunately, although some legislators were committed to solving the State’s
prison overcrowding crisis, not everyone could agree on the solutions necessary to see us
through to a sensible resolution.

You need to know that I remain concerned that the failure to pass any relief measure will lead
the Department into an emergency situation that not only endangers your safety, but also
places burdens on local governments and our communities. However, I pledge to you that I
will continue to work with the Legislature when they return in January to reach an acceptable
solution to this complex and difficult issue, and I will do everything in my power to provide
relief to the conditions many of you work in every day.

In spite of the disappointing outcome of the special session, I believe the Department was
successful in demonstrating the serious challenges you face daily and the terrific job all of you
are doing in spite of them. It is my belief that your professionalism and dedication are what
have kept our prisons safe in spite of the unprecedented levels of overcrowding to our
institutions. .

° CDC 1617 (3/89)

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All California Department of Corrections and
Rehabilitation Staff
Page 2

I have tremendous respect for the work performed by all staff of the California Department of
Corrections and Rehabilitation, and I am proud of each and every one of you. You have my
promise that I will continue to fight for what I believe to be my top priority, which is to
provide a safer working environment within our institutions by eliminating our unsafe practice
of housing offenders in nontraditional beds. As we go forward in the weeks and months
ahead, I will keep you informed of our progress in reaching a resolution to the issue at hand.
Again, thank you for your hard work and your willingness to perform your job everyday in
working conditions that I believe must be improved. I am honored by your dedication to serve
the state of California, and your commitment to protect the public safety of our citizens.

Original signed by
JAMES E. TILTON

Secretary (A)
California Department of Corrections and Rehabilitation

° CDC 1617 (3/89)

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EXHIBIT C

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STATE OF CALIFORNIA ~ DEPARTMENT OF CORRECTIONS AND REHABILITATION ARNOLD SCHWARZENEGGER, GOVERNOR

DIVISION OF CORRECTIONAL HEALTH CARE SERVICES
P.O, Box 942883
Sacramento, CA 94283-0001

September 1, 2006

Robert Sillen, Recciver J. Michael Keating, Jr., Special Master
Office of the California Prison Receivership 285 Terrace Avenue

1731 Technology Drive, Suite 700 Riverside, RI 02915

San Jose, CA 95110

RE: PITCHESS DETENTION FACILITY CLOSURE AND ITS IMPACT ON
MEDICAL AND MENTAL HEALTH PROGRAMS

Dear Sirs:

This letter is to advise you of the recent action taken by Los Angeles County to cancel a long-
standing contract with the California Department of Corrections and Rehabilitation (CDCR) for
approximately 1300 beds at their Pitchess Detention Facility (PDF). Los Angeles County
officials advised CDCR that all CDCR inmates must be out of the PDF no later than the end of
January 2007. As a result of this decision by Los Angeles County the CDCR has begun planning
to absorb this increased population within the mandated timeframe.

In order to accomplish the task of increasing the CDCR population by 1300 inmates, additional
reception center beds need to be identified, the inmates currently in these beds need to be moved
out and an increase in current institution population will be required. The draft plan has nine
institutions involved with California State Prison-Los Angeles (CSP-LAC), Folsom State Prison
(FSP), Pleasant Valley State Prison (PVSP), and Mule Creek State Prison (MCSP) cxperiencing
the most significant impacts to its inmate population and programs. The draft plan will result in
thousands of inmate moves over a 13-week period scheduled to begin in September 2006.

The Division of Correctional Health Care Services (DCHCS) has identificd a number of
significant issucs/concerns relative to the above draft plan and I am compelled to advise you
accordingly. Additionally, staff have identified actions that could be taken to mitigate the
potential harm to our inmate-patient population regarding this mass movement of
inmate-patients.

MEDICAL AND MENTAL HEALTH ISSUES/CONCERNS

e The medical and/or mental health status of the 1300 PDF inmates is unknown, Our
current demographics indicate that a minimum of 20 percent will require mental health
services. These mental health services will include all levels of care, including but not
limited to licensed Mental Health Crisis Bed (MHCB), and intermediate or acute care at
Department of Mental Health (DMH). The CDCR is currently over capacity for MHCBs
and there is a long wait list for high custody intermediate beds with DMH. Additionally,
approximately 10 percent of the current population is identified as mecting medical

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Robert Sillen, Receiver
J. Michael Keating, Jr., Special Master
Page 2

Chronic Care Program (CCP) criteria. There is a subsct of CCP inmate-patients who
require specialized medical care, such as dialysis, or licensed medical care due to the
severity of their medical conditions. These patients need to be housed at designated
institutions where these specialized services can be provided or be housed in licensed
medical beds

Recommendation: Form a strike team to go to the PDF to conduct medical and mental health
assessments on the 1300 inmates and send inmate-patients directly to the appropriate location in
order to receive appropriate medical and/or mental health care, It is noted that Atascadero State
Hospital has available beds, which could be used for lower security level inmate-patients. A
team of staff could be mobilized within a rcasonable period of time to begin these medical and
mental health assessments. A custody component would also be part of these assessments to
ensure safety and security concerns are taken into consideration in placing inmate-patients
directly into the appropriate institution for medical and/or mental health purposes.

* Medication management: It is unknown if the impacted institutions will have adequate
pharmacy support and/or capacity to handle the increased inmate-patient population and
the potential increase in medical and/or mental health patients. Inmates transferring out
of an institution are requircd to have a 30-day supply of their prescribed medications in
order to ensure continuity of care upon arrival at the new institution. Duc to the
thousands of inmate-patients moving over the proposed 13 weeks, current pharmacy staff
will not be able to meet this policy requirement.

* Medical Records: Prior to an inmate-patient being transferred to another institution,
their Unit Health Record (UHR) must be brought up-to-date with any pending filing. It is
unknown as to what the additional resources will be required in order to up date all UHRs
prior to transfer. The current vacancy rate for health records at the impacted institutions
will also impede the DCHCS ability to clear up all back logged filing in a timely manner.

MENTAL HEALTH ISSUES/CONCERNS

e Upon movement of a mental health inmate-patient, they must have a mental health
evaluation completed at the receiving institution. For FSP alone, they are scheduled to
receive 40 Correctional Clinical Case Management System (CCCMS) inmates per week
for 13 weeks in a row. In order to conduct all of these required evaluations, the existing
mental health staff will have to be redirected from their primary responsibility of direct
patient care.

e Institutions scheduled to increase their CCCMS population may already be at or above
the Court ordered limit of 130 percent of capacity.

° Current vacancy rates for mental health clinical staff may contribute to an institution’s
inability to adequately provide mental health care. For example, CSP-SAC has redirected

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Robert Sillen, Receiver
J. Michael Keating, Jr., Special Master.
Page 3

mental health staff from its CCCMS and Enhanced Outpatient Program (EOP) programs
in order to provide services to the MHCB inmate-patients. Other institutions such as
PVSP have and continue to experience severe staffing vacancies for mental health
clinical and support staff. Adcquate mental health services would not be provided.

MEDICAL ISSUES/CONCERNS

* Each of the identified institutions will be tasked with conducting an intake assessment
and TB test on all new arrivals. Additionally, all inmates transferring out of the
institution require a medical summary form be completed prior to transfer so that the
receiving institution is aware of the type of patient they just received. Due to the
thousands of inmates moving over the planned 13 weeks, these policy requircments
cannot be met with the current staffing.

e All new arrivals to an institution require a medical screening interview and review of
their UHR. Based on the inmate-paticnts medical factors/conditions, the Registered
Nursc must make a disposition as to when the inmate-patient needs to see a Primary Care
Provider (PCP), i.e. urgent or routine. Medical staff time will be nearly consumed in just
new arrival intake appointments during the schedule 13-week implementation of the draft
plan. Additional PCP and RN staff will be required in order to meet the patient’s medical
needs in a timely manner.

e Inmate-patients currently scheduled for outside appointment for specialty services will
have to have the appointment cancelled and rescheduled at their new institution. This will
result in an increased delay in providing necessary medical services.

e The impacted institutions will continue to have their existing medical missions, however,
ensuring that an inappropriate medical needs inmate-patient is not transferred to a
location that cannot provide adequate services cannot be guaranteed. For example,
inmates who meet Valley Fever exclusion criteria may be inadvertently moved to an
institution within the identified endemic area. This error will then result in a subsequent
move of the inmate to mitigate the potential exposure to Valley Fever.

We have shared the above issues and concerns with the medical management staff at the
impacted institutions. They have been asked to develop a plan regarding what additional
resources are needed to ensure patient care. As each institution will bc impacted to a different
degree, each institution will have to determine its resource needs.

At this time it is clear that there are more questions then answers. However, we will continue
discussion with the Division of Adult Institutions, and the County of Los Angeles, to develop an
acceptable transition plan with appropriate timeframes and a commensurate implementation plan
to the satisfaction of all stakeholders.

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Robert Sillen, Receiver
J. Michael Keating, Jr., Special Master
Page 4

If you should have any question, please contact me at 916-327-0033.

Sincerely,

fpkel (——

PETER FARBER-SZEKRENYI, DR. P.H.
Director
Division of Correctional Health Care Services

cc: James Tilton
Dave Runnels
Dare Keller
John Dovey
Doug McKcever
Tim Rougeux

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EXHIBIT D

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DIVISION OF CORRECTIONAL HEALTH CARE SERVICES |

P. O. Box 942883 RECEIVED
Sacramento, CA 94283-0001 , :
JUL 2 1 2006
ROSEN BiEN & ASARO:
July 3, 2006
J. Michael Keating, Jr. via: Lisa Tillman
Office of the Special Master . Deputy Attorney General
2351 Sussex Lane Department of Justice
Fernandina Beach, FL 32034 - 1300 I Street, Suite 125

P. O. Box 944255
Sacramento, CA 94244-25 50

RE: INFORMATION REQUESTED, RESPONSE TO JANUARY 19, 1999, COURT

ORDER REGARDING STAFF VACANCIES

Dear Mr. Keating: —

Enclosed are the monthly reports for May 2006, reflective of April 2006 data, excluding
Enclosures 7, 8, and 10, and responsive to the January 19, 1999, court order regarding staff
vacancies, including changes agreed to at the August 7, 2003, All Parties meeting.

Due to data integrity issues, Enclosures 7, 8, and 10, for the period of September 2005 —
May 2006 will be provided as a supplemental report. The June 2006 report reflecting
May 2006 data will be current.

1
2.
3.

4,
5.

6.

Mental Health Services Delivery System (MHSDS) Staffing Allocation and Vacancy
History.

MHSDS Hiring Activity Report. This report shows allocated staff and vacancy rate
information for the most recent period available.

Health Care Placement Unit (HCPU) Information Report, Summary and Administrative
Segregation Greater than 60 Days.

Merital Health Contract Services and Telemedicine Monthly Report for all disciplines.
California Department of Corrections and Rehabilitation (CDCR) Reception Center (RC)
Monthly Report.

Monthly Summary of Mental Health Crisis Bed use by Institution.

9 Jero-State Hospital (ASH) Disel

9.

Weekly Enhanced (Outpatient oem Ory een Psychiatric Program.

1 1. Suicide Report.

12. Statistics on Contracted Registered Nurse (RN).

13. RC Processing for MHSDS Inmate Patients.

14. Medical Technical Assistant (MTA) Vacancy Report.

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J. Michael Keating, Jr.
Page 2

15. Allocated Case Manager positions and vacancies for the EOP Administrative
Segregation Hub institutions. . . /

16. EOP inmates waiting for transfer to a Psychiatric Services Unit (PSU). .

17, Audit reports on Psychiatric Technician rounds in Administrative Segregation at
California State Prison-San Quentin (SQ), California State Prison-Corcoran (COR), and
Salinas Valley State Prison (SVSP).

18. Mental Health Crisis Bed Wait List. |

19. Correctional Treatment Centers and CDCR General Acute Care Hospitals Health Care
Placement Issues.

If you have any questions, please contact me at (916) 323-6811.

Sincerely,

Lhe

PETER FARBER-SZEKRENYI, DR. P.H.
Director
Division of Correctional Health Care Services

Enclosures

ce: Renee Kanan, M.D., Deputy Director, DCHCS (w/o enclosures)
Matthew Lopes, Deputy “Coleman” Special Master (w/enclosures)
Jeffrey L. Metzner, M.D., “Coleman” Expert (w/enclosures)
Dennis F. Koson, M.D., “Coleman” Expert (w/enclosures)
Kerry Hughes, M.D.,. “Coleman” Expert (w/enclosures)
Melissa G, Warren, Ph.D., “Coleman” Expert (w/enclosures)
Raymond F. Patterson, M.D., “Coleman” Expert (w/enclosures)
Paul Nicoll, “Coleman” Expert (w/enclosures)

- Ted Ruggles, “Coleman” Expert (w/enclosures)

Lisa Tillman, Office of the Attorney General (w/enclosures)
Michael Stone, Office of Legal Affairs (w/enclosures)
Michael Bien, Rosen Bien and Associates (w/enclosures)
Donald Specter, Prison Law Office (w/enclosures)
Virginia Morrison, Esq. (w/enclosures) .
Mohamedu F. Jones, Esq. (w/enclosures)
Patricia Williams, Esq. (w/enclosures)
Doug McKeever, DCHCS (w/enclosures)
Tim Fishback, M.D., DCHCS (w/enclosures)
Margaret McAloon, Ph.D., DCHCS (w/o enclosures)

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Enclosure 3

_ Health Care Placement Unit
Information Report

SN

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Mental Health Population - Placement Per Institution
, Download Date March 3, 2006

CCCMS . EOP MHCB || ‘total
: Mental
Current % of Current %of Health
Capacity Pop Capacity | -|- Capacity Pop Capacity Capacity Pop
ASP. u 1,099 | 893 | 81% | |- 9 902
ASP Ad-Seg 34 tT 41
CAL Wet 16 6 - 22
CAL Ad-Seg . - 5 . |. 5
CCC Mi 1 1)
CCC Ad-Seg 1 : 1
ccl wmv = *! 1,053 | 1,076 | 102% 8 1,084
CCI Ad-Seg 119 | 20 139
CCI-RC 166 | 179 | 108% . 18 c 197}
CCI-SHU 130 161 124% |. 5 166
CCWF 739 820 | -111% 54 70 130% 12 890
CCWF Ad-Seg . 22 22
CCWF-RC 110 149 | 135% | 149
CEN it 27 2 oo, 29
CEN Ad-Seg 6 2 8
CIM 366 596 | 163% 4 18 600
CIM-RC | 633 | 602 95% 153 755
CIM-RC--Ad-Seg ~ 42 6 48
cCIwW 349 446 | 128% 75 | 120 | 160% | - 566
CIW Ad-Seg . | 20 44 24
_CIW-RC 100 | 106 | 106% : 2 108
CMC Lu 1,049 | 1,160 -| 111% 580 | .594 | 102% | |}. Q “1,754
CMC Ad-Seg 61. 54 36 67% 97
“CMF att | 599 | 554 92% 600 596 | 99% 1,150 |
CMF. Ad-Seg 3 58 69 - | 119% , 72
- CMF** 83 1 84
COR WY #1 499 276 55% 150 149 99% 23 425
COR Ad-Seg 136 54 |. 56 104% 192
COR-SHU 450 | 443 | 98% . 1 a, 444
CRC-M i 599. | 814 | 136% 814 |.
CRC-W 249 163 65% . 163
“*This population Includes inmates In Hospice and S3, as well as HIV inmates in Unit IV and Y dorm at CMF. .
These inmates are not counted against the capacity Identified in the Gates -Coleman Court Order. Health Care Placement Unit
were eane onaae peldontieraviens as the information provided by RY 4 3/3/2006

“+"isa270 Design Facility. "** is a 180 Design Faotlity,

Grand Totals do not include MHOB data
‘COR Ad-Seg EOP housing is located in the SHU.

Since approximately February 2005, SQ EOP ASU numbers have been and continue to be understated.
SQ's housing of EOP ASU is such that database tracking Is unreliable at this time.

Case 2:90-cv-00520-KJM-SCR Document 1975-1 ‘Filed 09/25/06 Page 23 of 49

the respective DDPS identifier systems.
” + "Is a 270 Design Faallity. “* “Is @ 180 Design Facllity.

Grand Totals do not include MHCB data
COR Ad-Seg EOP housing Is located in the SHU.

Since approximately February 2005, SQ EOP ASU numbers have been and continue to be understated,
SQ's housing of EOP ASU is such that database tracking Is unreliable at this time.

CCCMS EOP MHCB Total
: . . Mental
Current % of . . Current % of Health
_ | Capacity Pop . . Capacity Capacity Pop Capacity. Capacity Pop
CTF ll 699 | 770 | 110% | | 6 776
CTF Ad-Seg 16 . 16
. CVSP . Mt 6 | 6
CVSP Ad-Seg © . 1
DVI Att 85 21 25% 3 24
. DVI Ad-Seg 46 | 14 60/
- DVI-RC 564 721 128% 42 763
DVI-RC--Ad-Seg 71 7 78
FOL it 599 551 92% 8 559
FOL Ad-Seg 54 . 54
_ HDSP_ wmv “|. 654 | 435—-| 67% 9 10 444
HDSP Ad-Seg - 68 4 72
HDSP-RC 45 56 | 124% 2 . 58
ISP unt 3 5 3
ISP Ad-Seg 2 2
' KVSP uw 349 407 117% 5 0 412
KVSP Ad-Seg . 30 . 2 32
LAC uv +} 1,149 | 970 84% 300 280 93% 13 1,250
_ LAC Ad-Seg 44 54 74° | 137% 118
LAC-RC ' 135 7 142
MCSP muy +1 999 —«| «1,099 | 110% 215 220 . | 102% 10 1,319
MCSP Ad-Seg 46 36 34 94% 80
NCWF 0 0
NKSP_ - at 215 84 39% 2 10 86
_ NKSP-RC 584 657 113% 70 727
NKSP-RC--Ad-Seg 48 6 54
PBSP w = *! 349 235 67% 64 71 111% 6 306
-PBSP Ad-Seg 64 i 65
PBSP SHU . 10 _ 10}
PVSP Mit 1,299 1,476 114% 7 5 1,483
PVSP Ad-Seg 134 3 137
RJD tl 901 645 72% | 330 303. | 92% 14 948
RJD Ad-Seg | 137 63 57 | 90% 194
RJD-RC | 298 455 | 153% 115 570
“This population includes inmates in Hospice and $3, as well as HIV inmates in Unit Vv and Y dorm at CMF. :
Thesa inmates are not counted against the capacity identified in the Gates -Coleman Court Order, Health Care Placement Unit
Mental Health and HIV numbers are as accurate as the information provided by R12 3/3/2006

the. respective DDPS tdentitier systems.
“+ "Is a:270 Design Facllity. ** "is a 180 Design Facllity.

Grand Totals do not include MHCB data
COR Ad-Seg EOP housing is located in the SHU.

Since approximately February 2005, SQ EOP ASU numbers have been and continue to be understated.
SQ's housing of EOP ASU is such that database tracking Is unreliable at this time. ,

Case 2:90-cv-00520-KJM-SCR Document 1975-1 Filed 09/25/06 Page 24 of AQ
CCCMS EOP MHCB Total’
Mental
_  _Current % of . Current % of Health
Capacity Pop Capacity Capacity Pop Capacity Capacity || Pop
SAC wt p49 | 74g | gam 192 199 | 104% 15 947
SAC Ad-Seg 27 49 63 129% - | {90
SATF HiY =F 4,049. 1,073 102% 9 16 1,082
SATF Ad-Seg . 144 3 147
SCC Alltt ‘499 529 106% 4 §33
SCC Ad-Seg 1 . 2. . 3
~ SOL A 1,199 | 1,423 | 119% 19 13 1,442
SOL Ad-Seg 60 1 61
SQ All 350 415 119% 90 505
_SQ-RC _ 549 500 91% 65 565
SQ-RC--Ad-Seg 75 36 13 36% 88
SVSP Av "| 999 1,047 105% . 192 178 93% 10 1,225
_SVSP Ad-Seg | 198 |. 45 43 96% 241
VSPW 606 758 125% - 4 162
VSPW.Ad-Seg 17 |° 9 9 100% 26
VSPW SHU 36 7 43
VSPW-RC 143 167 117% 10 177
WSP ut 105 { 123 | 117% 5 6 128
WSP-RC 944 | 1,261 | 134% 75 1,336
WSP-RC--Ad-Seg 52 13 65
“This population includes inmates in Hospice and S3, as well as HIV Inmates in Unit IV and Y dorm at CMF. ’
These inmates are not counted against the capacity identified in the Gates -Coleman Court Order. Health Care Placement Unit
Mental Health.and HIV numbers are as accurate as the information provided by 14-8 3/3/2006

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CCCMS

EOP MHCB | roar
: Mental
Current % of Current % of : Health
Capacity Pop Capacity Capacity: Pop: . Capacity Capacity Pop
Totals: 24,271 | 27,165. |111.9% | | 3,210 | 4,102- [127.8% 31,267
PSU DMH.
Current % of Current % of -
Capacity Pop _ Capacity Capacity Pop Capacity
PBSP 18 | 126 | 98.4% ASH} 131 | 113 86%
sac. | 128 | 116 | 90.63% DMH CMF-AIP| 150 | 136 | 91%
. * eT EUR LOST . uo
To tal PSU: 256 242 94.53% DMH CMF-ICE 76 69 91%
DMH CMEF-DTP | 44 36 | = 82%
DMH SVPP 64 50 78%
Totals :
The ASH cap includes the 25 APP beds.
Grand. Totals .
TotalMH TotalMH Percent of
Capacity Population Total MH
28,202 | 31,913 | 113.2%.

“This population includes Inmates in Hospice and $3, as well as HIV Inmates in Unlt IV and Y dorm at OME.

These Inmates are not counted against the capacity Identified In the Gates -Coleman Court Order. - Health Care Placement Unit

Mental Health and HIV numbers are as accurate as the Information provided by
the respective DDPS Identifier systems.

*+*Is a 270 Design Faallity. “* "ls a 180 Design Facility.

R1-4 . 3/3/2006

Grand Totals do not include MHCB data
COR Ad-Seg EOP housing is located in the SHU.

Since approximately February 2005, SQ EOP ASU numbers have been and continue to be understated,
$Q's housing of EOP ASU is such that database tracking Is unrellabie at this time.

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Combined Mental Health Population Per Institution

Includes Ad-Seg, SH U, Reception Center and GP Mental Health Populations Combined
Download Date March 3, 2006

-CCCMS . EOP: MHCB |] otal
: Mental
Current % of Current % of Health
Capacity . Pop Capacity Capacity Pop Capacity Capacity Pop -
ASP 1099 927 84% 16 . 943
CAL - 21 6 27
ccc 2. 2
ccl 1349 | 1535 114%| | . 51 1586
CCWF 849 |. 991 |. 117% 54 70 | 130% 12 1061
CEN . 33 | . . 4 37
— CIM" 999 1240 124%| | 163 18 1403
CIWw 449 572 127% 15 126 168% |. 698
CMC ‘| 1049 | 1221 | 116%] | 634 630 99% 1851
CMF 599 640 107%| |. 658 666 101% |} 1306
COR 949 855 |. 90%] | 213 206 97% 23 1061
CRC-M 599 814 136% 814
CRC-Ww 249 | 163 65%] 163
CTF 699 786 | 112% 6 792
CVSP 7 7
DVI 649 859 132% 66° |. . 925
FOL 599 605 101%| | 8 613
HDSP 699 |. 559 80% 15 - 10 574
ISP 5 .] | {poo 5° 5
KVSP 349 437 125% 7 444
LAC 1149 | 1149 100%] | 345 361 105% | |} 13 1510
MCSP 999 1145 115%| | 251 254 101% 5 1399
NKSP 799 789 99% 78 5 867
PBSP 349 309 89%| | 64 72 | 113% 6 381
PVSP 1299 | 1610 124% . 10 | 5 1620
RJD 1199 | 1237 103%] | 393° | 475 121% 15 1712
SAC 849 715 91%| | 241 262 109% 1037
SATF _ 1049 | 1217 116%| 12 16 1229
SCC 499 530 |. 106%] | 6 536
SOL 1199 | °1483 124% . 20 . 13 1503
SQ ~ 899 990 110% 36 168° | 467% 1158
SVSP 999 1245 125%| | 237 221 93% 10 1466
VSPW 749 978 131% 9 30 333% . 1008
WSP 1049 | 1436 137% 93 6 1529
- Totals 24271 | 27165 | 112% 3210 | 4102 | 128% 162 31267
"This population includes inmates in Hospice and 53, as well as HIV inmates in Unit {V and Y dorm at CMR. Health Care Placement Unit
These inmates are not counted against the capacity identified in the Gates -Coleman Court Order.
the respective DDPS identifier systems. 3/3/2006

R1-6

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EXHIBIT E

Case 2:90-cv-00520-KJM-SCR Document 1975-1 Filed 09/25/06 Page 28 O
STATE OF CALIFORNIA—DEPARTMENT OF CORRECTIONS AND REHABILITATION ARNOLD SCHW, 2-48 OF 49 DF ERNOR

DIVISION OF CORRECTIONAL HEALTH CARE SERVICES

P, ©. Box 942883
Sacramento, CA 94283-0001

September 1, 2006

J. Michael Keating, Jr. . via: Lisa Tillman

Office of the Special Master Deputy Attorney Gencral
2351 Sussex Lane Department of Justice
Fernandina Beach, FI. 32034 1300 I Street, Suite 125

P, O. Box 944255
Sacramento, CA 94244-2550
RE: MENTAL HEALTH CRISIS BED - MONTHLY REPORT
Dear Mr. Keating:

Please find enclosed the summary report of mental health crisis bed referrals and transfers for
the month of July 2006.

If you have any questions, please contact Julian Martinez, at (916) 322-5765.

Sincerely,

Qik pat

PETER FARBER-SZEKRENYI, DR., P.H.

Director

Division of Correctional Health Care Services
California Department of Corrections and Rehabilitation

Enclosures

oO
Q

Michacl Stone, Staff Counsel, Office of Legal Affairs

Doug McKeever, Program Director, Mental Health Services, DCHCS

Shama Chaiken, Ph.D., Chief Psychologist, Mental Health Program, DCHCS

Vicki O’Shaughnessy, Staff Services Manager II, Clinical Programs and Policy Unit, DCHCS

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State of California California Department of Corrections and Rehabilitation
Memorandum
Date: August 22, 2006
To: Peter Farber-Szekrenyi, DR., P.H.
Director
Division of Correctional Health Care Services
Subject SUMMARY OF MENTAL HEALTH CRISIS BED REFERRALS AND TRANSFERS FOR

JULY 2006

Attached are summaries regarding the number of Mental Health Crisis Bed (MHCB) referrals and
placements coordinated by Health Care Placement Unit (HCPU) staff. During the month of
July 2006, there were 146 MHCB referrals. Of the 146 referrals, only 63 were placed.
The 83 not placed (57% of those referred) were rescinded by the referring clinician.
Of the 83 rescinded, 55 no longer required MHCB treatment, 22 were placed in a MHCB
internally, 1 was transferred to the Department of Mental Health and 5. paroled.

Attachment 1 summarizes the referrals/transfers/rescinded cases by scnding institution and
previous levels of care. Additionally, every referral is tallied by classification score.

Attachment 2A (2 pages) provides additional details of the completed referrals/transfers,
including transfer timeframes, average number of days waiting to transfer, and prior level of care.
For the 63 transferred, the average number of days waiting was 2.52. Of the 63 transferred, only
32 cases were transferred within the required 24 hours.

Attachment 2B (3 pages) provides details regarding those MHCB referrals that were rescinded by
the referring institution. Attachment 2C summarizes the cases rescinded.

Attachment 3 summarizes, by institution, the average number of days referrals waited before
being transferred or rescinded.

Attachment 4 is a summary of those inmates referred and transferred to the California Medical
Facility (CMF)/Acute Psychiatric Program by referring institution.

Please let me know if you have any questions about the information provided.

pe (ME

Jujian Martinez, Chief
Health Care Placement Unit
Division of Correctional Health Care Services

Attachments

cc: Renee Kanan, M.D. Regional Medical Directors
Doug McKeever Susan Turner, R.N.
Peg McAloon, Ph.D. Regional Directors of Nursing
Shama Chaiken, Ph.D. Health Care Regional Administrators
Robert Canning, Ph.D. HCPU Staff
Dwight Winslow, M.D.

° CDC 1617 (3/89)

SUMMARY ATTACHMENT 1
TRANSFERRED AND RESCINDED MHCB REFERRALS
BY INSTITUTION AND PRIOR LEVEL OF CARE
JULY 2006

Oo
2 .
5 TOTAL REFERRALS _ REFERRED AND TRANSFERRED REFERRED AND RESCINDED —
Oo CCCMS| EOP GP | TOTAL] %TIL | CCCMS| EOP GP | TOTAL] % TIL | CCCMS] EOP “GP | TOTAL] “TIL |
ASP 11 2 0 131 8.90% 6 1 0 7|__ 11.11% 5 0 6| 7.23%
CAL 0 1 0 1| 0.68% 0 { 0 1] 1.59% 0 0 0 Df 0.00%
ccl 2 1 0 3] 2.05% 1 0 0 1| 1.59% 1 { 0 2) 241%
CCI-RC 3 1 0 4l 2.74% 1 0 0 1! 1.59% 2 1 0 3] 3.61%
CEN 1 0 2 3] 2.05% { 0 1 2| 3.17% 0 0 1 1{ 1.20%
ane 2 2 0 4 2.74% 0 0 0 o| 0.00% 2 2 0 4) 4.82%
0 1 0 o| 0.00% 0 1 0 11.59% 0 0 0 0} 0.00%
GRC 1 0 2 0} #DIV/0! | 0 1 2) 3.17% 0 0 1 1} 1.20%
GIF 1 0 0 1] 0.68% 1 0 0 1] 1.59% 0 0 0 ol 0.00%
JC¥SP 0 0 1 1[ 0.68% 0 0 1 1|/ 1.59% 0 0 0 Oo] 0.00%
BYI 0 3 0 3[_ 2.05% 0 2 0 2] 3.17% 0 1 0 4[ 1.20%
DVi-RC 10 14 1 22| 15.07% 2 3 1 6| 9.52% 8 8 0 16) 19.28%
Eee 1 4 0 0] 0.00% 0 2 0 a1 3.17% 1 2 0 31 3.61%
SP 0 0 0 O| 0.00% 0 0 0 al 0.00% 0 0 0 o| 0.00%
isp 0 0 2 2| 1.37% 0 0 2 2| 3.17% 0 0 0 a} 0.00%
KVSP 1 1 0 2} 1.37% 0 0 0 0| 0.00% 1 1 0 2| 2.41%
LAC 2 2 1 5] 3.42% 0 1 0 1|__ 1.59% 2 1 { 4) 4.82%
SP 5 4 3 12] 8.22% 3 1 2 6| 9.52% 2 3 1 6| 7.23%
NKSP 0 0 0 ol 0.00% 0 0 0 0} 0.00% 0 0 0 CG] 0.00%
SP-RC 20 8 3 31| 21.23% 4 3 2 9| 14.29% 16 5 1 22| 26.51%
TF 3 0 0 3. 2.05% 2 0 0 2| 3.17% 1 0 0 il 1.20%
scc 4 0 0 4|_ 2.74% 4 0 0 4| 6.35% 0 0 0 o| 0.00%
$Q 1 1 0 21 1.37% { 0 0 1[ 1.59% 0 1 0 4|___ 1.20%
6Q-RC 8 8 0 46| 10.96% 7 4 0 11 17.46% 1 4 0 S| 6.02%
SP _o 3 2 5| 3.42% 0 0 0 o| 0.00% 0 3 2 5] 6.02%
TAL 76 53 17 746] 100.00% 34 19 10 63] 100.00% 42 34 7 83} 100.00%
% TTL 52.05%] 36.30% 11.64%] 100.00% 55.97% 30.16%] 15.87%} 100.00%| 50.60%) 40.96%! 8.43%] 100.00%
ee
© Referrals by
lassitication Score

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MHCB TRANSFERS BY INSTITUTION AND PRIOR LEVEL OF CARE ATTACHMENT 2A

JULY 2006
Transferred Transferred Request ~~ ‘Transfer Previous “ha
From To Date Date oc Waiting
ASP COR 7/27/2006 7/28/2006 CCCMS +.
ASP COR 7/27/2006 7/28/2006 CCCMS 1
ASP PVSP 7/17/2006 7/17/2006 CCCMS 0
ASP PVSP 7/19/2006 7/20/2006 CCCMS 1
ASP PVSP 7/20/2006 7/20/2006 CCCMS 0
ASP PVSP 7/26/2006 7/26/2006 CCCMS 0
ASP PVSP 7/6/2006 7/6/2006 EOP 0
"AVERAGE DAYS WAITING: 0.4]
CAL SOL 7/6/2006 7/7/2006 EOP 1
. AVERAGE DAYS WAITING: 1.00
CCl KVSP 7/7/2006 7/14/2006 CCCMS 7
[___ AVERAGE DAYS WAITING: 7.00]
CCI-RC KVSP 6/29/2006 7/3/2006 “CCCMS 4
[__AVERAGE DAYS WAITING: 4.00]
CEN KVSP 7/17/2006 7/19/2006 CCeMS 2
CEN KVSP 7/13/2006 7/14/2006 1
[aeRED DAS WAITING: 1.50]
CIW CCWF 7/11/2006 7/13/2006 2
rT TERR EAE DAYS WAITING: 2.00]
CRC SATF 7/28/2006 7/29/2006 CCOMS 1
CRC KVSP 7/19/2006 7/25/2006 6
[AVERAGE DAYS WAITING: 3.50]
CTF LAC 6/26/2006 7/4/2006 CCCMS 8
[”__ AVERAGE DAYS WAITING: 8.00]
CVSP COR 7/1/2006. 7/2/2006 GP 1
‘ [AVERAGE DAYS WAITING: 7.00]
DVI PBSP 7/19/2006 7/20/2006 EOP 1
DVI SVSP 7/5/2006 7/6/2006 EOP 1
. [____ AVERAGE DAYS WAITING: 7.00]
DVI-RC PBSP 7/19/2006 7/22/2006 CCCMS 3
DVI-RC SVSP 6/28/2006 7/6/2006 CCCMS 8
DVI-RC PBSP 7/19/2006 7/20/2006 EOP 1
DVI-RC PVSP 7/18/2006 7/19/2006 EOP 1
DVI-AC SVSP 7/5/2006 7/6/2006 EOP 1
DVI-RC PVSP 7/15/2006 7/17/2006 GP 2
[AVERAGE DAYS WAITING: 2.67]
FOL COR 7/26/2006 7/28/2006 “EOP 2
FOL COR 7/26/2006 7/28/2006 EOP 2
[”__ AVERAGE DAYS WAITING: 2.00]
ISP COR 6/29/2006 7/12/2006 GP 13
ISP COR 7/11/2006 7/12/2006 GP {
[AVERAGE DAYS WAITING: 7.00]
LAC KVSP 7/12/2006 7/13/2006 EOP 1
[__ AVERAGE DAYS WAITING: T.00]
MCSP PVSP 7/22/2006 7/26/2006 CCCMS 4
MCSP PVSP 7/22/2006 7/26/2006 CCCMS 4
MCSP SATF 7/27/2006 7/28/2006 . CCCMS 1
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MHCB TRANSFERS BY INSTITUTION AND PRIOR LEVEL OF CARE . = ATTACHMENT 2A

JULY 2006
[Transferred Transferred "Request Transfer Previous Days
From To Date Date LOC Waiting
-MCSP HDSP 7/22/2006 7/28/2006 EOP 6
MCSP HDSP 7/22/2006 7/28/2006 GP 6
MCSP HDSP 7/27/2006 7/28/2006 GP ___ 1
[AVERAGE DAYS WAITING: 3.67]
NKSP-RC COR 7/20/2006 7/21/2006 CCCMS , 1
NKSP-RC HDSP 7/14/2006 7/15/2006 CCCMS 1
NKSP-RG KVSP 7/3/2006 7/4/2006 CCCMS 1
NKSP-RG KVSP 7/24/2006 7/27/2006 CCCMS 3
NKSP-RC HDSP 7/14/2006 7/15/2006 EOP 1
NKSP-RC KVSP 7/3/2006 7/4/2006 EOP 1
NKSP-RC KVSP 7/7/2006 7/7/2006 EOP 0
NKSP-RC COR 7/1/2006 7/1/2006 GP 0
NKSP-RC KVSP 7/26/2006 7/26/2006 GP 0
AVERAGE DAYS WAITING: 0.89
SATF PBSP 7/17/2006 7/17/2006 CCCMS 0
SATF PVSP 7/16/2006 7/18/2006 CCCMS 2
[”___ AVERAGE DAYS WAITING: 7.00]
$cc KVSP 6/28/2006 7/3/2006 CCCMS 5
SCC KVSP 7/19/2006 7/21/2006 CCCMS 2
Scc PVSP 7/17/2006 7/18/2006 CCCMS 1
scc SATF 7/5/2006 7/6/2006 CCCMS 1
[AVERAGE DAYS WAITING: 2.25]
SQ HDSP 7/13/2006 7/18/2006 CCCMS 5
- . [7 TAVERAGE DAYS WAITING: 5.00]
SQ-RC HDSP 7/7/2006 7/12/2006 CCCMS 5
SQ-RC HDSP 7/10/2006 7/12/2006 CCCMS 2
$Q-RC HDSP 7/22/2006 7/25/2006 CCCMS 3
SQ-RC KVSP 6/28/2006 7/6/2006 CCCMS — 8
SQ-RC PBSP 7/17/2006 7/18/2006 CCCMS 1
.SQ-RC SATF 7/7/2006 7/10/2006 CCCMS 3
‘S$Q-RC SVSP 6/28/2006 7/1/2006 CCCMS 3
SQ-RC KVSP 6/30/2006 7/6/2006 EOP 6
SQ-RC PBSP 6/30/2006 7/4/2006 EOP 4
SQ-RC PBSP 7/22/2006 7/25/2006 EOP 3
SQ-RC SATF 7/7/2006 7/9/2006 EOP 2
[AVERAGE DAYS WAITING: 3.64]
"SUMMARY OF TRANSFERS
Total Average Days
Time Frames Transfers Waiting Range for Days Waiting
Combined 63 2.52 13
<or=1 day 32 0.75 1
2 days 9 NA NA
3 days 6 NA NA
4 or more days 16 6.19 9
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RESCIND MHCB REFERRALS ATTACHMENT 2B
BY INSTITUTION AND PRIOR LEVEL OF CARE
JULY 2006

Transferred [Transferred Request Rescind] Previous [Rescind Days
[ron To Date Date} LOC [Reason Waiting
ASP “RESCINDED = 7/12/2006 7/16/2006 ~CCCMS RETURN TO HOUSING 4
ASP RESCINDED 7/12/2006 7/16/2006 CCCMS RETURN TO HOUSING 4
ASP RESCINDED 7/12/2006 7/17/2006 CCCMS RETURN TO HOUSING 5
ASP RESCINDED = 7/18/2006 _ 7/20/2006 CCCMS RETURN TO HOUSING 2
ASP RESCINDED 7/24/2006 7/27/2006 CCCMS RETURN TO HOUSING 3
ASP RESCINDED 7/16/2006 7/18/2006 EOP RETURN TO HOUSING 2
AVERAGE DAYS WAITING: 3,33

CCl RESCINDED = 7/29/2006 7/30/2006 CCCMS RETURN TO HOUSING 1
CCl RESCINDED = 6/29/2006 = 7/5/2006 EOP PAROLED 6
AVERAGE DAYS WAITING: 3.50]

CCI-RC RESCINDED 7/7/2006 7/12/2006 CCCMS RETURN TO HOUSING 5
CCI-RC RESCINDED 7/29/2006 7/30/2006 CCCMS RETURN TO HOUSING 1
CCI-RC RESCINDED = 6/26/2006 7/3/2006 ~=EOP RETURN TO HOUSING 7
AVERAGE DAYS WAITING: 4.33

CEN RESCINDED = 7/13/2006 7/14/2006 GP RETURN TO HOUSING 1
j AVERAGE DAYS WAITING: 7.00]

CIM-RC RESCINDED =_ 7/19/2006 _ 7/21/2006 CCCMS ADMITTED 2
CIM-RC RESCINDED 7/19/2006 _ 7/21/2006 CCCMS ADMITTED 2
CIM-RC RESCINDED = 7/19/2006 7/21/2006 EOP ADMITTED 2
CIM-RG RESCINDED 7/24/2006 7/26/2006 EOP ADMITTED 2
AVERAGE DAYS WAITING: 2.00

CRC RESCINDED = 7/17/2006 7/18/2006 GP RETURN TO HOUSING 1
AVERAGE DAYS WAITING: 1.00]

DVI RESCINDED 7/14/2006 7/16/2006 EOP RETURN TO HOUSING 2
AVERAGE DAYS WAITING: 2.00]

DVI-RC RESCINDED 7/5/2006 7/6/2006 CCCMS RETURN TO HOUSING 1
DVI-RC RESCINDED 7/5/2006 7/6/2006 CCCMS RETURN TO HOUSING 1
DVI-RC RESCINDED. 7/12/2006 7/12/2006 CCCMS RETURN TO HOUSING 0
DVI-RC RESCINDED = 7/12/2006 7/13/2006 CCCMS RETURN TO HOUSING 1
DVI-RC RESCINDED = 7/12/2006 7/16/2006 CCCMS RETURN TO HOUSING 4
DVI-RC RESCINDED 7/14/2006 7/16/2006 CCCMS PAROLED 2
DVI-RC RESCINDED = 7/15/2006 7/16/2006 CCCMS RETURN TO HOUSING 1
DVI-RC RESCINDED 7/21/2006 7/24/2006 CCCMS RETURN TO HOUSING 3
DVI-RC RESCINDED 7/5/2006 7/6/2006 EOP RETURN TO HOUSING 1
DVI-RC RESCINDED 7/11/2006 7/13/2006 EOP RETURN TO HOUSING 2
DVI-RC RESCINDED = 7/13/2006 7/16/2006 EOP RETURN TO HOUSING 3
DVI-RC RESCINDED = 7/14/2006 7/16/2006 EOP  DMH (Pending or Transferred) 2
DVI-RC RESCINDED = 7/21/2006 7/24/2006 EOP RETURN TO HOUSING 3
DVI-RG RESCINDED = 7/28/2006 7/31/2006 EOP RETURN TO HOUSING 3
DVI-RC RESCINDED = 7/28/2006 7/31/2006 EOP RETURN TO HOUSING 3
DVI-RC RESCINDED —=_ 7/29/2006 7/31/2006 EOP RETURN TO HOUSING 2
AVERAGE DAYS WAITING: 2.00}

FOL RESCINDED 7/19/2006 7/20/2006 CCCMS ADMITTED 1
FOL RESCINDED 7/19/2006 7/20/2006 EOP ADMITTED 1
FOL RESCINDED = 7/26/2006 7/27/2006 EOP ADMITTED 1
AVERAGE DAYS WAITING: 1.00

KVSP RESCINDED = 7/28/2006 7/31/2006 CCCMS ADMITTED 3
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RESCIND MHCB REFERRALS ATTACHMENT 28
BY INSTITUTION AND PRIOR LEVEL OF CARE ,
JULY 2006
Transterred [Transferred Request “Rescind] Previous [Rescind Days
From To Date Date LOC  |Reason Waiting
KVSP RESCINDED 7/3/2006 =7/3/2006 += EOP ADMITTED 0
| AVERAGE DAYS WAITING: 1.50}
LAC RESCINDED 7/16/2006 7/17/2006 CCCMS ADMITTED 1
LAC RESCINDED 7/16/2006 7/17/2006 CCCMS ADMITTED 1
LAC RESCINDED 7/16/2006 7/17/2006 EOP ADMITTED 1
LAC RESCINDED = 7/28/2006 7/31/2006 GP ADMITTED 3
AVERAGE DAYS WAITING: 1.50}
MCSP RESCINDED 7/13/2006 7/13/2006 CCCMS RETURN TO HOUSING 0
MCSP RESCINDED 7/19/2006 7/26/2006 CCCMS ADMITTED 7
MCSP RESCINDED = 7/12/2006 = (7/17/2006 EOP RETURN TO HOUSING 5
MCSP RESCINDED 7/13/2006 7/13/2006 EOP RETURN TOHOUSING 0
MCSP RESCINDED —=_ 7/13/2006 7/16/2006 EOP ADMITTED 3
MCSP RESCINDED = 7/22/2006 ~7/25/2006 GP RETURN TO HOUSING 3
AVERAGE DAYS WAITING: 3.00]
NKSP-RG RESCINDED 7/8/2006 7/10/2006 CCCMS RETURN TO HOUSING 2
NKSP-RC RESCINDED 7/8/2006 7/10/2006 CCCMS RETURN TO HOUSING 2
NKSP-RG RESCINDED 7/8/2006 7/11/2006 CCCMS ADMITTED 3
NKSP-RC RESCINDED 7/10/2006 7/11/2006 CCCMS ADMITTED 1
NKSP-RC RESCINDED 7/10/2006 7/11/2006 CCCMS ADMITTED 1
NKSP-RC RESCINDED 7/11/2006 7/16/2006 CCCMS RETURN TO HOUSING 5
NKSP-RC RESCINDED 7/12/2006 7/12/2006 CCCMS RETURN TO HOUSING 0
NKSP-RC RESCINDED = 7/12/2006 7/13/2006 CCCMS RETURN TO HOUSING 1
- NKSP-RC RESCINDED 7/14/2006 7/17/2006 CCCMS RETURN TO HOUSING 3
NKSP-RC RESCINDED 7/17/2006 7/18/2006 CCCMS RETURN TO HOUSING 1
NKSP-RC RESCINDED 7/17/2006 7/18/2006 CCCMS RETURN TO HOUSING 1
NKSP-RC RESCINDED = 7/20/2006 7/21/2006 CCCMS RETURN TO HOUSING 1
NKSP-RC RESCINDED 7/24/2006 7/26/2006 CCCMS ADMITTED 2
NKSP-RCG RESCINDED 7/24/2006 7/26/2006 CCCMS PAROLED 2
NKSP-RC RESCINDED 7/25/2006 7/26/2006 CCCMS PAROLED 1
NKSP-RC RESCINDED 7/26/2006 7/27/2006 CCCMS RETURN TO HOUSING 1
NKSP-RC RESCINDED ~ 6/29/2006 7/1/2006 EOP RETURN TO HOUSING 2
NKSP-RC RESCINDED 7/13/2006 7/14/2006 EOP RETURN TO HOUSING 1
NKSP-RCG RESCINDED = 7/20/2006 _7/21/2006 EOP RETURN TO HOUSING 1
NKSP-RC RESCINDED 7/25/2006 7/26/2006 EOP RETURN TO HOUSING 1
NKSP-RC RESCINDED = 7/27/2006 7/31/2006 EOP. RETURN TO HOUSING 4
NKSP-RC RESCINDED 7/8/2006 7/10/2006 GP RETURN TO HOUSING 2
AVERAGE DAYS WAITING: 1.73}
SATF RESCINDED = 7/15/2006 7/15/2006 CCCMS RETURN TO HOUSING 0
AVERAGE DAYS WAITING: 0.00
SQ RESCINDED = =7/13/2006 7/16/2006 EOP RETURN TO HOUSING 3
AVERAGE DAYS WAITING: 3.00
$Q-RC RESCINDED 7/10/2006 7/14/2006 CCCMS RETURN TO HOUSING 4
$Q-RC RESCINDED _ 6/30/2006 7/3/2006 EOP RETURN TO HOUSING 3
$Q-RC RESCINDED = 7/26/2006 7/28/2006 EOP RETURN TO HOUSING 2
SQ-RG RESCINDED = 7/27/2006 7/28/2006 EOP RETURN TO HOUSING 1
$Q-RC RESCINDED = 7/27/2006 7/29/2006 EOP PAROLED 20
[_ AVERAGE DAYS WAITING: 2.40]
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RESCIND MHCB REFERRALS ATTACHMENT 2B
BY INSTITUTION AND PRIOR LEVEL OF CARE
JULY 2006
Transferred [Transferred Request Rescind] Previous |Rescind Days
[Frans To Date Date] LOC [Reason wan]
-SVSP RESCINDED 7/2/2006 7/3/2006 EOP RETURN TO HOUSING 1
SVSP RESCINDED 7/12/2006 7/12/2006 EOP ADMITTED 0
SVSP RESCINDED = 7/12/2006 7/13/2006 EOP ADMITTED 1
SVSP - RESCINDED = 7/12/2006 7/12/2006 GP ADMITTED 0
SVSP . RESCINDED = 7/13/2006 7/14/2006 GP RETURN TO HOUSING 1
[___ AVERAGE DAYS WAITING: 0.60]
SUMMARY OF RESCINDED REFERRALS
Average] Range for
Days Days
Time Frames | Rescinds| Waiting Waitingl
Combined 83 2.05 7
<or=1 day 38 0.79 4
2 days 19 NA NA
3 days 14 NA NA
4 or more days 12 5,00 3
Page 3 8/8/06

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REASON FOR RESCINDED MHCB REFERRALS ATTACHMENT 2C
JULY 2006

RESCIND REASON _
DMH Total
Institution | Admitted | Return to Housing | Pending or Transferred | Paroled | Rescinded

ASP
CAL
CCI
CCI-RC
GEN
CIM
CIM-RC
CMC
CMF
CRC
CTF
DVI
DVI-RC
FOL.
ISP
KVSP
LAC
MCSP.
NKSP
NKSP-RC
PVSP
RJD-RC
SATF
SCC
SOL

SQ
S$Q-RC
SVSP
TOTAL

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SUMMARY ATTACHMENT 3
MHCB Referrals and Transfers
JULY 2006
TRANSFERS RESCINDED REFERRALS TOTAL REFERRALS

Number Avg Wait Number Avg Wait Number Avg Wait
ASP 7 0.43 6 3.33 13 1.77
CAL 1 1.00 0 0.00 1 1.00
CCl 1 7.00 2 3.50 , 3 4.67
CCI-RC 1 4.00 3 4.33 4 4.25
CEN 2 1.50 1 1.00 3 1.33
CIM 0 0.00 0 0.00 0 0.00}
CIM-RC 0 0.00 4 2.00 4 2.00
CIW 1 2.00 0 0.00 1 2.00
CIW-RC 0 0.00] 0 0.00 0 0.00
Ccuc 0 0.00 0 0.00 0 0.00
CMF 0 0.00} 0 0.00 0 0.00
COR 2 7.00} 0 0.00 2 7.00
CRC 2 3.50 1 1.00 3 2.67
CTF 1 8.00 0 0.00 1 8.00
CVSP | 1 1.00 0 0.00 1 1.00
DVI 2 1.00 1 2.00 3 1.33
DVi-RC 6 2.67 16 2.00 22 2.18
FOL 2 2.00 3 1.00 5 1.40
HDSP 0 0.00 0 0.00 0 0.00}
ISP 0 0.00 0 0.00 0 0.00}
KVSP 0 0.00 2 1.50 2 1.50
LAC 1 1.00 4 1.50 5 1.40
MCSP 6 3.67 6 3.00 12 3.33
NKSP . 0 0.00]. 22 1.73 22 1.73
NKSP-R 9 0.89 Oj. 0.00 9 0.89
PVSP 0 0.00 0 0.00 Of. 0.00
RJD-RC 0 0.00 0 0.00 0 0.00
SAC 0 0.00 0 0.00 0 0.00:
SATF 2 1.00 1 0.00 3 0.67
scc 4 2.25 0 0.00 4 2.25
SOL 0 0.00 0 0.00 0 0.00
SQ 1 5.00 1 3.00 2 4.00
SQ-RC 44]. 3.64 5 2.40 16 3.25
SVSP__ 0 0.00 5 0.60 5 0.60
IWSP-RC 0 0.00 0 0.00 0 0,00
TOTAL 63 2.52 83 2.05 146 2,25]

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CMF/DMH EMERGENCY ADMISSIONS ATTACHMENT 4

BY REFERRING INSTITUTION AND PRIOR LEVEL OF CARE
JULY 2006
Referring
Institution
Prior Level of Care __ CMF] TOTAL
CCCMS 2 2
EOP 14 14
GP 0 0
{Total Emergency Admissions 16 16
% of Total Emergency Admissions 100.00%| 100.00%

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STATE OF CALIFORNIA—DEPARTMENT OF CORRECTIONS AND REHABILITATION ARNOLD SCHWARZENEGGER, GOVERNOR

DIVISION OF CORRECTIONAL HEALTH CARE SERVICES

P, O. Box 942883
Sacramento, CA 94283-0001

June 22, 2006

J. Michael Keating, Jr. via! Lisa Tillman

Office of the Special Master Deputy Attorney Gencral
2351 Sussex Lane Department of Justice
Fernandina Beach, FL 32034 1300 I Street, Suite 125 ©

P. O, Box 944255
Sacramento, CA 94244-2550

RE: MENTAL HEALTH CRISIS BED —- MONTHLY REPORT
Dear Mr. Keating:

Please find enclosed the summary report of mental health crisis bed referrals and transfers for
the month of May 2006.

If you have any questions, please contact Rick Johnson, at (916) 327-2207.

Sincercly,

’
a7
at
Lee

PETER FARBER-SZEKREN YI, DR. P.H.
Director
Division of Correctional Health Care Services

Enclosures

cc: Renee Kanan, M.D., Deputy Director, Division of Correctional Health Care Services

(DCHCS)

Yulanda Mynhier, Deputy Director (A), Health Care Field Administrative Operations
Branch, DCHCS .

Timothy Fishback, M.D., Chief Psychiatrist, Mental Health Program, DCHCS

Michael Stone, Staff Counsel, Office of Legal Affairs

Shama Chaiken, Ph.D., Chief Psychologist, Mental Health Program, DCHCS

Doug McKeever, Project Director, Mental Health Program, DCHCS

Vicki O’Shaughnessy, Staff Services Manager II, Clinical Programs and Policy Unit, DCHCS

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State of California California Department of Corrections and Rehabilitation
Memorandum
Date: June 2), 2006
To: Yulanda Mynhier, Deputy Director (A).
Health Care Administrative Operations Branch
Division of Correctional Health Care Services
Subject SUMMARY OF MENTAL HEALTA CRISIS BED REFERRALS AND TRANSFERS FOR

MAY 2006 .

Attached are summaries regarding the number of Mental Health Crisis Bed (MHCB) referrals and
placements handled by Health Care Placement Unit (HCPU) staff durmg the month of
April 2006. There were 148 MHCB referrals. Of the 148 referrals, only 38 were placed.
The 110 not placed (74% of those referred) were rescinded by the referring clinician.
Of the 110 rescinded, 98 no longer required MHCB treatment, 11 were placed in a MHCB
internally, 0 were transferred to the Department of Mental Health and J paroled.
Attachment 1 summarizes the referrals/transfers/rcscinded cases by sending institution and
previous levels of care. Additionally, every referral is tallied by classification score.

Attachment 2A (2 pages) provides additional details of the completed referrals/transfers,
including transfer timeframes, average number of days waiting to transfer, and prior level of care.
The average number of days waiting for the 38 transferred was 4.08. Of the 38 transferred, only
10 cases were transferred within the required 24 hours.

Attachment 2B (3 pages) provides details regarding those MHCB referrals that were rescinded by
the referring institution. Attachment 2C summarizes the cases rescinded.

Attachment 3 summarizes, by institution, the average number of days referrals waited before
being transferred or rescinded.

Attachment 4 is a summary of those inmates referred and transferred to the California Medical
Facility (CMF)/Acute Psychiatric Program by referring institution.

Please let me know if you have any questions about the information provided.

(Kid olnen—

Rick Johnson, Chief (A)
Health Care Placement Unit
Division of Correctional Health Care Services

Attachments

cc: P. Farber-Szekrenyi, DR. P.H. Renee Kanan, M.D.
Tim Fishback, M.D. Doug McKcever
Shama Chaiken, Ph.D. Peg McAloon, Ph.D.
Health Care Regional Administrators Robert Canning, Ph.D.

Regional Medical Directors HCPU Staff

° CDC 1617 (3/89)

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%000 10 0 0 0 EI IL: 0 0 %89'0 |b 0 0 i iad
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%t609 {29 9 82 ee REIS IL 0 0 %S6Sr [89 9 82 ve OY-NID
4%000 [0 0 0 0 %00'°0 10 0 0 0 7000 (0 0 0 0 WId
%000 {0 0 0 0 %6e2 |e € 0 0 woe |e € 0 0 Nao
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MHCB TRANSFERS BY INSTITUTION AND PRIOR LEVEL OF CARE ATTACHMENT 2A

MAY 2006

from" Transferred Request Transfer, Previous iting
From To Date Date LOC Waiting
ASP PVSP 5/20/2006 5/22/2006 CCCMS 2
ASP SATF 4/30/2008 =. ~—s«/2/2006 += CCCMS 2
ASP PVSP 5/4/2006 5/8/2006 EOP 4

ASP PVSP 5/19/2006 5/20/2006 GP {
ASP. PVSP 5/24/2006 5/31/2006 GP 7
[AVERAGE DAYS WAITING: 3.20]

CAL COR 4/28/2006 5/15/2006 CCCMS 17
CAL LAC 5/22/2006 5/23/2006 GP t

CAL PVSP 5/11/2006 5/12/2006 GP 1
CAL PVSP 5/22/2006 5/24/2006 GP 2
[AVERAGE DAYS WAITING: 5.25]

CCl COR 5/5/2006 5/17/2006 EOP 12
[AVERAGE DAYS WAITING: 12.00]

CEN PVSP 5/23/2006 5/25/2006 “GP 2
CEN RJD 5/1/2006 5/4/2006 GP 3
CEN SOL 5/19/2006 5/19/2006 GP 0
AVERAGE DAYS WAITING: {67

CIM-RC SOL 5/1/2006 5/15/2006. _CCCMS 14
AVERAGE DAYS WAITING: 14.00

CVSP PVSP 5/16/2006 5/24/2006. GCCMS 8
AVERAGE DAYS WAITING: 8.00

DVI SOL 5/18/2006 5/26/2008 CCCMS 8
[AVERAGE DAYS WAITING: 5.00}

DVI-RC COR 5/1/2006 5/15/2006 CCCMS 14

DVI-RC COR 5/4/2006 5/15/2006  CCCMS 11
DVI-RC HDSP 5/11/2006 5/18/2006 EOP 7

DVI-RC HDSP 5/17/2006 5/18/2006 EOP {
| AVERAGE DAYS WAITING: 8.25]

FOL SAC 5/22/2006 5le2/2006. + CCCMS 0
AVERAGE DAYS WAITING: 0.00

HDSP HDSP 5/9/2006 5/11/2006 “EOP 2

[AVERAGE DAYS WAITING: 2.00]

isP LAC 5/16/2006 5/18/2006 “GP 2
[AVERAGE DAYS WAITING: 2.00]

KVSP PVSP 5/16/2006 5/18/2006 CCCMS 2
KVSP PVSP 5/16/2006 5/19/2006 | CCCMS 3
KVSP RJD 5/1/2006 5/4/2006  CCCMS 3
KVSP SOL 5/17/2006 5/19/2006  CCCMS 2
KVSP PVSP 5/23/2006 5/23/2006 GP 0
KVSP PVSP 5/24/2006 5/26/2006 GP 2
[__ AVERAGE DAYS WAITING: 2.00]

SQ-RC HDSP 5/9/2006 5/11/2006. CCCMS 2
SOQ-RC PBSP 5/1/2006 5/7/2006  CCCMS 6
SQ-RC PBSP 5/24/2006 5/26/2006 CCCMS 2
SQ-RC PVSP 5/5/2006 5/8/2006 CCCMS 3

SQ-RC SOL 5/12/2006 5/13/2006 CCCMS 1
SQ-RC SOL 5/20/2006 5/24/2006  CCCMS 4
SQ-RC HDSP 5/9/2006 5/11/2006 EOP 2

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MHCB TRANSFERS BY INSTITUTION AND PRIOR LEVEL OF CARE ATTACHMENT 2A
MAY 2006
Transferred {Transferred Request "Transfer Previous Days
[fran To Date Date LOC waiting
SQ-RC SOL 5/24/2006 5/25/2006 EOP 1
SQ-RC HDSP 5/17/2006 5/18/2006 GP 1
AVERAGE DAYS WAITING: 2.44
SUMMARY OF TRANSFERS
Total Average Days| Range for Days
Time Frames Transfers Waiting Waiting
Combined 38 4.08 17
<or= 1 day 10 0.70 1
2 days 12 NA NA
3 days _ 4 NA NA
4 or more days 12 9.33 13

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RESCINDED MHCB REFERRALS ATTACHMENT 28
BY INSTITUTION AND PRIOR LEVEL OF CARE
MAY 2006

Transferred [Transferred Request Rescind Previous Rescind Days
[ron To Date ‘Date LOC Reason Waiting
ASP _ RESCINDED 5/2/2006 5/4/2006 EOP RETURN TO HOUSING 2
ASP RESCINDED 5/20/2006 5/23/2006 GP RETURN TO HOUSING 3
AVERAGE DAYS WAITING: 2.50]

CCl RESCINDED 5/10/2006 5/18/2006 CCCMS RETURN TO HOUSING 8
CCl RESCINDED 4/28/2006 5/1/2006 EOP RETURN TO HOUSING 3
| _ AVERAGE DAYS WAITING: 5.50]

CIM-RC RESCINDED 4/26/2006 5/1/2006 CCCMS ADMITTED 5
CIM-RC RESCINDED 4/26/2006 5/1/2006 CCCOMS RETURN TO HOUSING 5
CIM-RC RESCINDED 4/26/2006 5/1/2006 CCCMS RETURN TO HOUSING ‘5
CIM-RC RESCINDED 4/27/2006 5/2/2006 CCCMS RETURN TO HOUSING 5
CIM-RG RESCINDED 4/27/2006 5/3/2006 CCCMS ADMITTED 6
CIM-RC RESCINDED 4/28/2006 5/1/2006 CCCMS RETURN TO HOUSING 3
CIM-RC RESCINDED 4/28/2006 5/1/2006 CCCMS RETURN TO HOUSING 3
CIM-RC RESCINDED 4/28/2006 5/2/2006 CCCMS RETURN TO HOUSING 4
CIM-RC RESCINDED 4/28/2006 5/2/2006 CCCMS RETURN TO HOUSING 4
CIM-RG RESCINDED 4/28/2006 5/3/2006 CCCMS ADMITTED 5
CIM-RC RESCINDED 5/1/2006 5/2/2006 CCCMS RETURN TO HOUSING 1
CIM-RC RESCINDED 5/1/2006 5/2/2006 CCCMS RETURN TO HOUSING 1
CIM-RG RESCINDED 5/1/2006 5/2/2006 CCCMS RETURN TO HOUSING 4
CIM-RC RESCINDED 5/1/2006 _ §/2/2006 CCCMS RETURN TO HOUSING 1
GIM-RG RESCINDED 5/1/2006 5/3/2006 CCCMS RETURN TO HOUSING 2
CIM-RC RESCINDED . 6/1/2006 5/3/2006 CCCMS RETURN TO HOUSING 2
CIM-RC RESCINDED 5/1/2006 5/4/2006 CCCMS RETURN TO HOUSING 3
CIM-RC RESCINDED 5/2/2006 5/4/2006 CCCMS RETURN TO HOUSING 2
CIM-RG RESCINDED 5/2/2006 5/4/2006 CCCMS RETURN TO HOUSING 2
CIM-RC RESCINDED 5/2/2006 5/8/2006 CCCMS RETURN TO HOUSING 6
CIM-RC RESCINDED 5/5/2006 5/8/2006 CCCMS. RETURN TO HOUSING 3
CIM-RG RESCINDED 5/8/2006 5/10/2006 CCCMS RETURN TO HOUSING 2
CIM-RC RESCINDED 5/8/2006 5/11/2006 CCCMS RETURN TO HOUSING 3
CIM-RC RESCINDED 5/8/2006 §/12/2006 CCCMS RETURN TO HOUSING 4
CIM-RC RESCINDED 5/10/2006 §/25/2006 CCCMS RETURN TO HOUSING 15
CIM-RC RESCINDED 5/11/2006 5/25/2006 CCCMS RETURN TO HOUSING 14
CIM-RC RESCINDED 5/12/2006 5/25/2006 CCCMS RETURN TO HOUSING 13
CIM-RC RESCINDED —_— 8/15/2006 5/18/2006 CCCMS RETURN TO HOUSING 3
CIM-RG RESCINDED 5/15/2006 5/22/2006 CCCMS RETURN TO HOUSING 7
CIM-RC RESCINDED 5/17/2006 5/18/2006 CCCMS RETURN TO HOUSING 1
CIM-RC RESCINDED 5/22/2006 5/25/2006 CCCMS RETURN TO HOUSING 3
CIM-RC RESCINDED 5/25/2006 5/31/2006 CCCMS . RETURN TO HOUSING 6
CIM-RC RESCINDED 5/25/2006 5/31/2006 CCCMS RETURN TO HOUSING 6
CIM-RC RESCINDED 4/26/2006 5/1/2006 EOP RETURN TO HOUSING 5
CIM-RC RESCINDED 4/27/2006 5/1/2006 EOP RETURN TO HOUSING 4
CIM-RC RESCINDED 4/27/2006 5/1/2006 EOP RETURN TO HOUSING 4
CIM-RC RESCINDED 4/27/2006 5/2/2006 EOP RETURN TO HOUSING 5
CIM-RC RESCINDED 4/28/2006 5/2/2006 EOP RETURN TO HOUSING 4
CIM-RCG RESCINDED 4/28/2006 5/2/2006 EOP RETURN TO HOUSING 4
CIM-RC RESCINDED 5/1/2006 5/10/2006 EOP RETURN TO HOUSING 9
GIM-RC RESCINDED 5/1/2006 5/24/2006 EOP ADMITTED 23
CIM-RC RESCINDED 5/3/2006 5/8/2006 EOP RETURN TO HOUSING 5
CIM-RC RESCINDED 5/3/2006 5/23/2006 EOP RETURN TO HOUSING 20

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RESCINDED MHCB REFERRALS ATTACHMENT 28
BY INSTITUTION AND PRIOR LEVEL OF CARE
MAY 2006
Transferred {Transferred Request Rescind Previous Rescind Days
[Fen Tr Date Date LOC Reason Waiting
-CIM-RC RESCINDED 5/4/2006 5/26/2006 EOP RETURN TO HOUSING 22
CIM-RC RESCINDED 5/5/2006 5/17/2006 EOP RETURN TO HOUSING 12
CIM-RG RESCINDED 5/8/2006 5/12/2006 EOP RETURN TO HOUSING 4
CIM-RC RESCINDED 5/8/2006 5/23/2006 EOP RETURN TO HOUSING 15
CIM-RC RESCINDED 5/9/2006 5/10/2006 EOP RETURN TO HOUSING 1
CIM-RC RESCINDED 5/9/2006 5/11/2006 EOP RETURN TO HOUSING 2
CIM-RC RESCINDED 5/10/2006 5/15/2006 EOP RETURN TO HOUSING 5
CIM-RC RESCINDED 5/12/2006 5/19/2006 EOP RETURN TO HOUSING 7
CiM-RC RESCINDED 5/15/2006 5/19/2006 EOP RETURN TO HOUSING 4
CIM-RC RESCINDED 5/15/2006 5/24/2006 EOP ADMITTED 9
CIM-RC RESCINDED 5/16/2006 5/22/2006 EOP RETURN TO HOUSING 6
CIM-RC RESCINDED 5/17/2006 5/22/2006 EOP RETURN TO HOUSING 5
CIM-RC RESCINDED 5/17/2006 5/23/2006 EOP RETURN TO HOUSING 6
CIM-RC RESCINDED 5/18/2006 5/23/2006 EOP RETURN TO HOUSING 5
CIM-RC RESCINDED 5/18/2006 5/24/2006 - EOP RETURN TO HOUSING 6
-CIM-RC RESCINDED 5/19/2006 5/25/2006 EOP RETURN TO HOUSING 6
CIM-RC RESCINDED 5/22/2006 5/23/2006 EOP RETURN TO HOUSING 1
CIM-RC RESCINDED 5/22/2006 5/25/2006 EOP RETURN TO HOUSING 3
CIM-RC RESCINDED 4/26/2006 5/1/2006 GP ADMITTED 5
CIM-RC RESCINDED 5/3/2006 5/4/2006 GP RETURN TO HOUSING 1
CIM-RC RESCINDED 5/5/2006 5/8/2006 GP RETURN TO HOUSING 3
CIM-RC RESCINDED 5/12/2006 5/15/2006 GP RETURN TO HOUSING 3
. CIM-RC RESCINDED 5/15/2006 5/23/2006 GP RETURN TO HOUSING 8
CIM-RC RESCINDED 5/23/2006 5/25/2006 GP RETURN TO HOUSING 2
I “AVERAGE DAYS WAITING: 5.52]
CTF RESCINDED 5/5/2006 5/15/2006 CCCMS RETURN TO HOUSING 10
CTF RESCINDED 5/16/2006 5/19/2006 GP RETURN TO HOUSING 3
. AVERAGE DAYS WAITING: 6.50]
DVI-RC RESCINDED 4/28/2006 5/4/2006 CCCMS RETURN TO HOUSING 6
DVI-RC RESCINDED 5/11/2006 5/17/2006 CCCMS RETURN TO HOUSING 6
DVI-RC RESCINDED 5/5/2006 5/11/2006 EOP RETURN TO HOUSING 6
DVI-RC RESCINDED 5/12/2006 5/17/2006 EOP RETURN TO HOUSING 5
DVI-RC RESCINDED 5/22/2006 §/25/2006 EOP RETURN TO HOUSING 3
~ AVERAGE DAYS WAITING: 520
KVSP RESCINDED 5/1/2006 5/8/2006 CCCMS PAROLED 7
KVSP RESCINDED 5/1/2006 5/10/2006 GP RETURN TO HOUSING 9
KVSP RESCINDED 5/22/2006 5/23/2006 GP RETURN TO HOUSING 1
AVERAGE DAYS WAITING: 5.67]
LAC RESCINDED 5/10/2006 5/11/2006 CCCMS RETURN TO HOUSING 1
j AVERAGE DAYS WAITING: 1.00]
NKSP RESCINDED 5/10/2006 + —-§/10/2006 GCOMS RETURN TO HOUSING 0
T AVERAGE DAYS WAITING: 0.00}
NKSP-RC RESCINDED 5/4/2006 5/7/2006 CCCMS RETURN TO HOUSING 3
NKSP-RC RESCINDED 5/4/2006 5/8/2006 CCCMS RETURN TO HOUSING 4
NKSP-RC RESCINDED 5/10/2006 5/15/2006 CCCMS RETURN TO HOUSING 5
NKSP-RC RESCINDED 5/11/2006 5/15/2006 CCCMS RETURN TO HOUSING 4
NKSP-RC RESCINDED 5/18/2006 5/19/2006 CCCMS ADMITTED 1
NKSP-RCG RESCINDED 5/20/2006 5/22/2006 CCCMS RETURN TO HOUSING 2
Page 2 HCPU 6/14/06

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RESCINDED MHCB REFERRALS ATTACHMENT 28
BY INSTITUTION. AND PRIOR LEVEL OF CARE
MAY 2006

Transferred [Fransferes Request Rescind Previous Rescind Days
From To Date Date LOC Reason Waiting
NKSP-RC RESCINDED 5/20/2006 5/22/2006 CCCMS ADMITTED 2
NKSP-RC RESCINDED 5/4/2006 5/8/2006 EOP RETURN TO HOUSING 4
NKSP-RC RESCINDED 5/10/2006 5/15/2008 _ EOP RETURN TO HOUSING 5
NKSP-RC RESCINDED 5/11/2006 5/15/2006 EOP ADMITTED 4
NKSP-RC RESCINDED 5/11/2006 5/15/2006 EOP ADMITTED 4
NKSP-RC RESCINDED 4/30/2006 5/4/2006 GP RETURN TO HOUSING 4
NKSP-RC RESCINDED 5/26/2006 5/31/2006 GP RETURN TO HOUSING 5

| AVERAGE DAYS WAITING: 3.62
SQ-RC RESCINDED 5/1/2006 5/3/2006 CCCMS RETURN TO HOUSING 2
$Q-RC RESCINDED 5/7/2006 5/10/2006 CCCMS RETURN TO HOUSING 3
SQ-RC RESCINDED 5/7/2006 5/10/2006 CCCMS RETURN TO HOUSING 3
SQ-RC RESCINDED 5/15/2006 5/18/2006 CCCMS RETURN TO HOUSING 3
$Q-RC RESCINDED 5/15/2006 5/18/2006 CCCMS RETURN TO HOUSING 3
SQ-RC RESCINDED 5/20/2006 5/23/2006 CCCMS RETURN TO HOUSING 3
SQ-RC RESCINDED 4/28/2006 5/1/2006 EOP RETURN TO HOUSING 3
SQ-RC RESCINDED 5/1/2006 5/10/2006 _GP RETURN TO HOUSING 9

r “AVERAGE DAYS WAITING: 3.63]
SVSP RESCINDED 5/20/2006 5/23/2006 CCCMS RETURN TO HOUSING 3
SVSP RESCINDED 5/20/2006 5/23/2006 CCCMS “RETURN TO HOUSING 3
SVSP RESCINDED 5/2/2006 5/23/2006 EOP RETURN TO HOUSING 21
SVSP RESCINDED 5/17/2006 5/17/2006 EOP ADMITTED 0
SVSP RESCINDED . 5/17/2006 5/18/2006 EOP RETURN TO HOUSING 1
SVSP RESCINDED 5/20/2006 5/23/2006 EOP RETURN TO HOUSING 3

AVEHAGE DAYS WAITING: 5.77]

"SUMMARY OF RESCINDED REFERRALS —*Y

Average Days Range for Da

Time Frames Rescinds Waiting Waiting
Combined 110 5.00 23
<or=1 day 14 0.86 1
2 days 11 NA NA
3 days 24 NA NA
4 or more days 61 7.28 19

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REASON FOR RESCINDED MHCB REFERRALS ATTACHMENT 2C
MAY 2006

RESCIND REASON
“DMH ~~ Total
institution | Admitted | Return to Housing Pending or Transferred | Paraled | Rescinded
ASP :

CAL

CCl
CCI-RC
CEN
CIM
CIM-RC
CMC
CMF
CRG
CTF

DVI -
DVI-RC
FOL

ISP
KVSP
LAG
MCSP
NKSP
NKSP-RC
PVSP
$cc
SOL

$Q
SQ-RC
SVSP

{TOTAL

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SUMMARY ATTACHMENT 3
MHCB Referrals and Transfers
MAY 2006
TRANSFERS RESCINDED REFERRALS TOTAL REFERRALS

Number Avg Wait Number Avg Wait Number Avg Wait
ASP 5 "3.20 2 2.50 7 3.00
CAL 4 5.25 0 0.00 4 5.25
CCl 1 12.00 2 5.50; 3 11,00
CCI-RC 0 0.00 0 0.00 0 0.00
CEN 3 1.67 0 0.00} 3 1.67
CIM 0 0.00 0 0.00 Q 0.00
CIM-RC 1 14.00 67 5.52 68 5.65
CIW 0 0.00] 0 0.00 0 0.00
CIW-RC 0 0.00 0 0.00 0 0.00
CuMc 0 0.00 0 0.00 0 0.00
CMF — 0 0.00 0 0.00 0 0,00
CRC 0 0.00 0 0.00 0 0,00
CTF 0 0.00 2 6.50 2 6.50
CVSP 1 8.00 0 0.00 4 8.00
DVI 1 8.00} 0 0.00 1 8.00
DVI-RC 4 8.25, 5 5.20 9 6.56
FOL 1 2.00 0 0.00 1 2,00
HDSP 1 2.00 0 0.00 1 2.00
ISP 1 2.00 0 0.00 1 2.00
KVSP 6 2.00 3 5.67 9 3.23
LAC 0 0.00 1 1.00 1 1.00
MCSP 0 0.00 0 0.00 0 0.00
NKSP 0 0.00 1 0.00 1 0.00
NKSP-RC 0 0.00 13 3.62 13 3.62
PVSP 0 0.00 0 0.00 0 0.00
SAC 0 0.00; 0 0.00 0 0.00
scc 0 0.00 0 0.00 0 0.00
SOL 0 0.00 0 0.00 0 0.00
SQ 0 0.00 0 0.00 0 0.00
SQ-RC 9 2.44 8 3.63 17 3.00
SVSP 0 0.00 6 5.17 6 5.17
WSP-RC 0 0.00 0 0.00 0 0.06
TOTAL 38 4.08 T10 5.00 148 477

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CMF/DMH EMERGENCY ADMISSIONS ATTACHMENT 4
BY REFERRING INSTITUTION AND PRIOR LEVEL OF CARE
MAY 2006
Referring
Institution
Prior Level of Care CMF TOTAL
CCCMS 2 2
EOP 22 22
GP 0 0
fTotal Emergency Admissions 24 24
% of Total Emergency Admissions 100.00%] 100.00%

HCPU 6/21/06

